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14                                UNITED STATES DISTRI CT COURT
                                       DISTRICT OF NEVADA
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     Cung Le, Nathan Quarry, Jon Fitch, Brandon               Lead Case No.: 2:15-cv-01045-RFB-(PAL)
16   Vera, Luis Javier Vazquez, and Kyle
     Kingsbury, on behalf of themselves and all
17   others similarly situated,                               CONSOLIDATED AMENDED ANTITRUST
                                                              CLASS ACTION COMPLAINT
18                         Plaintiffs,

19          v.                                                DEMAND FOR JURY TRIAL

20   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
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                           Defendant.
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 1           Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury

 2   (“Plaintiffs”) file this action on behalf of themselves and as a class action on behalf of all others

 3   similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, against Defendant

 4   Zuffa, LLC (“Zuffa”), operating under the trademark Ultimate Fighting Championship® or UFC®

 5   (“UFC” or “Defendant”). Plaintiffs seek treble damages and injunctive relief for Defendant’s violations

 6   of Section 2 of the Sherman Act, 15 U.S.C. § 2. Plaintiffs complain and allege as follows based on: (a)

 7   their personal knowledge; (b) the investigation of Plaintiffs’ counsel; and (c) information and belief:

 8   I.      NATURE OF ACTION AND SUMMARY
 9           1.     This is a civil antitrust action under Section 2 of the Sherman Act, 15 U.S.C. § 2, for

10   treble damages and other relief arising out of Defendant’s overarching anticompetitive scheme to

11   maintain and enhance its (a) monopoly power in the market for promotion of live Elite Professional

12   Mixed Martial Arts (“MMA”) Fighter bouts,1 and (b) monopsony power in the market for live Elite

13   Professional MMA Fighter services. The relevant geographic market for both the Relevant Input

14   Market and Relevant Output Market is limited to the United States and, in the alternative, North

15   America. Regardless of whether the relevant geographic market includes the U.S., North America, or

16   indeed the entire world, the UFC has monopoly and monopsony power, which it gained, enhanced, and

17   maintained through the anticompetitive scheme alleged herein. As alleged below, the UFC has engaged

18   in an illegal scheme to eliminate competition from would-be rival MMA Promoters by systematically

19   preventing them from gaining access to resources critical to successful MMA Promotions, including by
20   imposing extreme restrictions on UFC Fighters’ ability to fight for would-be rivals during and after

21   their tenure with the UFC. As part of the scheme, the UFC not only controls Fighters’ careers, but also

22   takes and expropriates the rights to their names and likenesses in perpetuity. As a result of this scheme,

23   UFC Fighters are paid a fraction of what they would earn in a competitive marketplace.

24           2.     Plaintiffs Cung Le, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury

25   (the “Bout Class Plaintiffs”) are Elite Professional MMA Fighters who have each fought in a bout

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28    A “bout,” as used in this Complaint, is a professional live MMA contest between two Mixed Martial
     Artists promoted by an MMA Promoter.
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 1   promoted by the UFC during the Class Period (defined below). The Bout Class Plaintiffs bring this

 2   action on behalf of themselves and a proposed class of similarly situated UFC Fighters (the “Bout

 3   Class,” defined in more detail below).

 4          3.      Plaintiffs Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and

 5   Kyle Kingsbury (the “Identity Class Plaintiffs”) bring this action on behalf of themselves and a

 6   proposed class composed of all other similarly situated UFC Fighters whose identities were exploited

 7   or expropriated for use by the UFC, including in UFC Licensed Merchandise and/or UFC Promotional

 8   Materials (the “Identity Class,” defined in more detail below).

 9          4.      Through a series of anticompetitive, illicit, and exclusionary acts, the UFC has illegally

10   acquired, enhanced, and maintained dominant positions in the markets for (a) promoting live Elite

11   Professional MMA Fighter bouts (the “Relevant Output Market”), and (b) the market for live Elite

12   Professional MMA Fighter services (the “Relevant Input Market”). The Relevant Output Market and

13   Relevant Input Market are referred to collectively herein as the “Relevant Markets.”

14          5.      Defendant’s conduct, as alleged herein, has foreclosed competition and thereby

15   enhanced and maintained the UFC’s monopoly power in the Relevant Output Market and monopsony

16   power in the Relevant Input Market. By dominating the market for promoting live Elite Professional

17   MMA bouts, Defendant makes the UFC the “only game in town” for Elite Professional MMA Fighters

18   who want to earn a living in their chosen profession at the highest level of the sport of MMA. By

19   dominating the market for live Elite Professional MMA Fighter services through the scheme alleged
20   herein (including through long-term exclusive agreements with MMA Fighters and other exclusionary

21   and anticompetitive acts), the UFC controls the talents of Elite Professional MMA Fighters, who are

22   popular with national audiences. Because an MMA Promoter can attract a significant live or Pay-Per-

23   View audience based on the public notoriety of the Elite Professional MMA Fighters scheduled to

24   appear, would-be rival MMA Promoters require access to them in order to become significant players

25   in the market for promoting live Elite Professional MMA bouts.

26          6.      The UFC has used the ill-gotten monopoly and monopsony power it has obtained and
27   maintained through the scheme alleged herein to suppress compensation for UFC Fighters in the Bout

28   Class artificially and to expropriate UFC Fighters’ identities and likenesses inappropriately.

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 1          7.     The UFC, which (through the conduct alleged herein) now controls approximately 90%

 2   of the revenues derived from live Elite Professional MMA bouts (regardless of whether the geographic

 3   market is the U.S., North America, or the entire world), promotes and distributes professional live

 4   MMA bouts through various venues, in the U.S. and internationally, including physical venues such as

 5   the SAP Center and the HP Arena in San Jose, California, the Sleep Train Arena in Sacramento,

 6   California, the Key Arena in Seattle, Washington, the Honda Center in Anaheim, California, the United

 7   Center in Chicago, Illinois, the Prudential Center in Newark, New Jersey, the Amway Center in

 8   Orlando, Florida, the Mandalay Bay Events Center in Las Vegas, Nevada, the Philips Arena in Atlanta,

 9   Georgia, the Wells Fargo Center in Philadelphia, Pennsylvania, the Target Center in Minneapolis,

10   Minnesota, the Patriot Center in Fairfax, Virginia, the TD Garden in Boston, Massachusetts, and

11   through network television venues and Pay-Per-View events broadcast in the U.S. and North America.

12   As part of the anticompetitive scheme alleged herein, the UFC has acquired, driven out of business,

13   foreclosed the entry of, and/or substantially impaired the competitiveness of multiple actual and

14   potential MMA Promotion rivals. As a result, the only remaining promoters of MMA bouts are either

15   fringe competitors—which, as a general matter, do not and cannot successfully compete directly with

16   the UFC—or entities that have essentially been conscripted by the UFC, through the scheme alleged

17   herein, into acting as the UFC’s “minor leagues,” developing talent for the UFC but not competing

18   directly with it. From October 1, 2012 to September 30, 2013, Zuffa’s annual revenues were

19   approximately $483 million, with approximately $256 million generated by the promotion of live
20   events, and the remaining $227 million generated by ancillary revenue streams which include, but are

21   not limited to, merchandising, licensing fees, sponsorships, advertising fees, video game fees, and

22   digital media revenue streams. Zuffa’s current revenues are estimated to exceed $500 million annually.

23          8.     In an April 2008, Forbes magazine article entitled “Ultimate Cash Machine,” Lorenzo

24   Fertitta was quoted as saying: “We are like football and the NFL. The sport of mixed martial arts is

25   known by one name: UFC.” By 2010, as a result of the anticompetitive conduct alleged herein,

26   defendant Zuffa’s President, Dana White, boasted that it had essentially eliminated all of its
27   competition. White publicly proclaimed that, within the sport of MMA: “There is no competition.

28   We’re the NFL. You don’t see people looking at the NFL and going, ‘Yeah, but he’s not the best player

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 1   in the world because there’s a guy playing for the Canadian Football League or the Arena League over

 2   here.’ We’re the NFL. There is no other guy.” However, unlike the NFL—which has multiple teams

 3   vying for player services—within the UFC, there is no competition for Elite Professional MMA Fighter

 4   services. Due to the scheme alleged herein, for Elite Professional MMA Fighters, it’s the UFC or

 5   nothing. To repeat Mr. White’s boastful concession: “There is no other guy.”

 6          9.      As set forth in more detail below, Defendant acquired and maintained monopoly power

 7   in the Relevant Output Market through a series of exclusionary acts, including (a) direct acquisitions of

 8   actual or potential rivals (who were forced to sell to the UFC because they found it impossible to

 9   compete profitably due to the UFC’s anticompetitive scheme), as well as (b) a multifaceted scheme to

10   impair and foreclose competition by leveraging the UFC’s market dominance—including its tight-

11   fisted control over the supply of Elite Professional MMA Fighters—to block actual or potential rivals

12   from accessing inputs (such as, e.g., Elite Professional MMA Fighters, the best venues, and valuable

13   sponsorships) necessary to compete successfully in the market for promoting live Elite Professional

14   MMA bouts. The UFC has locked up the supply of Elite Professional MMA Fighters through, first, a

15   series of acquisitions designed to remove competing rivals and would-be rivals and thereby

16   championship titles from the marketplace by acquiring the contracts of Elite Professional MMA

17   Fighters, shuttering the acquired promotions, and second, by, inter alia, forcing all UFC Fighters, if

18   they want to engage in professional MMA fights at the elite level, to enter into contracts that bar them

19   from working with would-be rival MMA Promotion companies all but indefinitely.
20          10.     Not content to control virtually all of the Elite Professional MMA Fighter services

21   necessary for promoting a successful live MMA event, the UFC also forces major physical venues for

22   MMA bouts to supply their services to the UFC exclusively. Further, under the scheme described

23   herein, during the Class Period, the UFC has also required MMA sponsors to work exclusively with the

24   UFC and UFC Fighters. Indeed, throughout most of the Class Period, the UFC refused to contract with

25   any sponsor who agreed to work with an actual or potential rival MMA Promotion company or Fighter

26   under contract with another MMA Promoter, whether an actual or potential rival, and prohibited these
27   sponsors from appearing on UFC Fighters during UFC events. Through the scheme alleged herein, the

28   UFC locked up: (i) all or virtually all Elite Professional MMA Fighters with substantial national or

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 1   regional notoriety; (ii) the vast majority of major sponsors; and (iii) key physical and television venues.

 2   Without access to, or the ability to compete for access to, the Elite Professional MMA Fighters, would-

 3   be UFC rivals cannot hope to attract enough viewers (either live or via Internet, television or Pay-Per-

 4   View broadcast) to make their promotions significantly profitable. Without access to key sponsors,

 5   venues, or major television distribution outlets, would be rivals cannot put together sufficiently

 6   attractive events either to attract Elite Professional MMA Fighters to work with them or to gain the

 7   kind of audience that could challenge the UFC’s dominance.

 8          11.     The UFC denied actual and potential rivals necessary inputs to run effective professional

 9   MMA Promotion companies, raising their costs and making it impossible for them to compete

10   effectively. As a result of the UFC’s exclusionary scheme, multiple actual or potential rivals were

11   forced to sell to the UFC or exit the market entirely.

12          12.     The UFC has publicly touted its success in using the scheme alleged in this Complaint to

13   squash its competition. For example, in November 2008, UFC President Dana White uploaded a pre-

14   bout video blog to YouTube in which he held up the following mock tombstone prominently displaying

15   the letters “RIP” as well as the logos and “dates of death” of the those MMA Promoters— International

16   Fight League (“IFL”), Elite Xtreme Combat (“EliteXC”), and Affliction Entertainment (“Affliction”).

17   Each promotion had been or would soon be put out of business by the UFC’s anticompetitive conduct.

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14          13.    After reading off the names of the MMA Promotion companies that the UFC had

15   eliminated through the conduct alleged herein, White took credit for their demise, proclaiming, “I’m

16   the grim reaper, motherf***ers.”

17          14.    Similarly, on October 12, 2012, White boastfully responded on Twitter to a fan of the

18   acquired and shuttered Pride Fighting Championships promotion by stating:

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 1          15.     In a June 14, 2010 interview with a leading MMA website, MMA Junkie, White stated:

 2                  There was a time when it [competition in the MMA industry] was neck-
                    and-neck. That time is over. There were times when we were in
 3                  dogfights, but everybody needs to just concede and realize we’re the
                    [expletive] NFL. Period. End of story.
 4

 5          16.     While the UFC dominates the sport of MMA much like the NFL dominates the sport of

 6   football, the UFC does not contain rival teams that vie to sign players based on their estimated value in

 7   a competitive market nor is the UFC a “league” of any kind.

 8          17.     The UFC is an individual sport that issues championship titles to athletes competing in,

 9   and winning, title bouts. The UFC follows no independent ranking criteria, nor does it establish any

10   objective criteria for obtaining a title bout. By following no objective criteria, the UFC is able to exert

11   considerable control over its roster of athletes who risk losing the opportunity to be afforded “title

12   bouts” or to earn a living as an MMA fighter. Further, the UFC shuts out rival promotion opportunities

13   for promoters and fighters by refusing to co-promote events with would-be rival MMA Promoters and

14   prohibiting its athletes from competing against any non-UFC MMA Fighters in live Elite Professional

15   MMA bouts. Such exclusivity, as part of the alleged scheme, bolsters the UFC’s ability to maintain its

16   iron-fisted control of Elite Professional MMA Fighters. As a result of the UFC’s scheme, in order to

17   generate any significant public notoriety and earn a living in their chosen profession, Elite Professional

18   MMA Fighters are foreclosed from the opportunity to self-promote and must sign exclusively with the

19   UFC and compete only against UFC athletes.
20          18.     Having thoroughly dominated the Relevant Markets, in November 2013, the UFC

21   unveiled its plans for extending its dominance internationally from the U.S. and North American

22   markets when it posted to Twitter the following image of White, flanked by Zuffa co-owners Frank and

23   Lorenzo Fertitta, at a sports conference, in front of a screen stating, “World F**king Domination

24   Reshaping the Sports World:”2

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28     The image has been edited to modify the offensive language appearing in the first line of the original
     text, as have various quotations from Dana White throughout this Complaint.
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17          19.    As a result of the anticompetitive scheme alleged herein, the UFC has foreclosed

18   competition and gained, maintained, and enhanced its position as the dominant promoter of MMA and

19   one of the most powerful organizations in professional sports. The UFC now generates over half a

20   billion dollars in annual revenues and has profit margins higher than all or nearly all other major

21   professional sports. This anticompetitive scheme, which has afforded the UFC dominance in the

22   Relevant Markets, allows it to exploit the MMA Fighters on whose backs the business rests. All UFC

23   Fighters are paid a mere fraction of what they would make in a competitive market. Rather than earning

24   paydays comparable to boxers, a sport with many natural parallels, Elite Professional MMA Fighters

25   go substantially undercompensated despite the punishing—and popular—nature of their profession.

26          20.    As described below, the UFC did not acquire and does not maintain its monopoly power

27   in the Relevant Output Market and monopsony power in the Relevant Input Market lawfully. The

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 1   UFC’s    anticompetitive     and    illegal     scheme   through   which    it   obtained    its   unlawful

 2   monopoly/monopsony, as described herein, reaches virtually every aspect of the sport.

 3           21.    As alleged below, by gaining, maintaining, and enhancing iron-fisted control over the

 4   Relevant Markets through the ongoing exclusionary scheme alleged herein, the UFC has foreclosed

 5   competition in the Relevant Markets, acquired, enhanced, and maintained (i) monopoly power in the

 6   Relevant Output Market and (ii) monopsony power in the Relevant Input Market, and used its

 7   dominant position to enter into and dominate other segments of the MMA Industry unrelated to the

 8   promotion of live Elite Professional MMA events. This conduct, taken together, has had substantial

 9   anticompetitive effects in the Relevant Markets, and has harmed members of the respective Classes

10   defined herein in that: (i) compensation of members of the Bout Class has been and continues to be

11   substantially and artificially suppressed; and (ii) compensation of members of the Identity Class for the

12   expropriation and commercial exploitation of their likenesses and identities has been and continues to

13   be substantially and artificially suppressed.

14   II.     JURISDICTION AND VENUE
15           22.    This action is brought under Section 2 of the Sherman Act, 15 U.S.C. § 2.

16           23.    Plaintiffs have been injured, and are likely to continue to be injured, as a direct result of

17   Defendant’s unlawful conduct.

18           24.    The United States District Court for the District of Nevada has subject matter

19   jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1337(a), and section 4 of the Clayton
20   Act, 15 U.S.C. § 15(a)(2).

21           25.    Venue is proper in this District under Sections 4 and 12 of the Clayton Act, 15 U.S.C.

22   §§ 15 and 22. Zuffa has promoted professional live MMA events in this District, and sold or licensed

23   promotional, merchandising or ancillary materials throughout this District. Venue in this District is also

24   proper pursuant to 28 U.S.C. § 1391.

25           26.    The UFC has acquired, enhanced, and is illegally maintaining monopsony power in the

26   Relevant Input Market and monopoly power in the Relevant Output Market through the anticompetitive
27   scheme alleged herein.

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 1   III.   DEFINITIONS
 2          27.      As used herein:

 3                a. “Bout Agreement” means a contract between a UFC Fighter and Zuffa, or its affiliates,

 4   which designates, among other things, the opponent, weight class, and date of a scheduled bout.

 5                b. “Card” means the identification of all of the bouts that occur during a single MMA

 6   event. The Card typically consists of the Main Card and the Undercard.

 7                c. “Class Period” means the period from December 16, 2010 until the illicit scheme

 8   alleged herein ceases.

 9                d. “Elite Professional MMA Fighter” means any Professional MMA Fighter who has

10   demonstrated success through competition in local and/or regional MMA promotions, or who has

11   developed significant public notoriety amongst MMA Industry media and the consuming audience

12   through demonstrated success in athletic competition. All UFC Fighters are Elite Professional MMA

13   Fighters.

14                e. “Exclusive Promotional and Ancillary Rights Agreement” means a contract between a

15   UFC Fighter and Zuffa, pursuant to which Zuffa is the exclusive promoter of a UFC Fighter’s bouts for

16   a period of time, and the UFC Fighter grants certain ancillary rights to Zuffa in perpetuity.

17                f. “Identity” of a UFC Fighter means the name, sobriquet, voice, persona, signature,

18   likeness and/or biographical information of a UFC Fighter.

19                g. “Main Card” consists of bouts between higher profile and more established MMA
20   Fighters and are featured on the main broadcast of the event, ending with a main event featured bout,

21   and frequently, a co-main event featured bout.

22                h. “Merchandise Rights” means Zuffa’s unrestricted worldwide rights to use, edit,

23   disseminate, display, reproduce, print, publish, and make any other uses of the name, sobriquet, voice,

24   persona, signature, likeness, and/or biographical information of a UFC Fighter solely in connection

25   with the development, manufacture, distribution, marketing and sale of UFC Licensed Merchandise.

26                i. “Merchandise Rights Agreement” means a contract between a UFC Fighter and Zuffa or
27   its affiliates, pursuant to which the UFC Fighter grants Zuffa or its affiliates certain rights with regard

28   to using a Fighter’s Identity in marketing merchandise.

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 1              j. “Mixed Martial Arts” or “MMA” means a competitive individual sport in which

 2   competitors use interdisciplinary forms of martial arts that include, e.g., jiu-jitsu, judo, karate, boxing,

 3   kickboxing, taekwondo, and/or wrestling to their strategic and tactical advantage in a supervised match.

 4   Scoring in live professional MMA bouts is based on state athletic commission-approved definitions and

 5   rules for striking (blows with the hand, feet, knees or elbows) and grappling (submission holds,

 6   chokeholds, throws or takedowns).

 7              k. “MMA Industry” means the business of promoting live MMA bouts and may also

 8   include the promotion of Pay-Per-View MMA events to generate Pay-Per-View revenues and ticket

 9   sales as well as ancillary activities such as: the sale of live and taped television programming, video-on-

10   demand, merchandise (videos, DVDs, video games, apparel, hats, sporting equipment, etc.), event and

11   fighter sponsorships, and the collection of MMA-related copyright and trademark royalties.

12              l. “MMA Promoter” or “MMA Promotion” means a person or entity that arranges

13   professional live MMA bouts for profit.

14              m. “Pay-Per-View” or “PPV” means a type of pay television or broadcast service by which

15   a subscriber of an Internet or television service provider can purchase events to view live via private

16   telecast or Internet broadcast. The events are typically purchased live, but can also be purchased for

17   several weeks after an event first airs. Events can be purchased using an on-screen guide, an automated

18   telephone system, on the Internet or through a live customer service representative.

19              n. “Post-Bout Event” means any post-bout interviews and press conferences that follow
20   and relate to a Bout.

21              o. “Pre-Bout Event” means training, interviews, press conferences, weigh-ins and behind-

22   the-scenes footage that precede, and relate to, a bout.

23              p. “Professional MMA” or “Professional MMA Fighter” means a person who is

24   compensated as a combatant in a Mixed Martial Arts bout.

25              q. “Promotional Rights and Ancillary Rights” means rights to site fees, live-gate receipts,

26   advertising fees, sponsorship fees, motion pictures, all forms of radio, all forms of television (including
27   live or delayed, interactive, home or theater, pay, PPV, satellite, closed circuit, cable, subscription,

28   multi-point, master antenna, or other), telephone, wireless, computer, CD-ROM, DVD, any and all

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 1   Internet applications, films and tapes for exhibition in any and all media and all gauges, including but

 2   not limited to, video and audio cassettes and disks, home video and computer games, arcade video

 3   games, hand-held versions of video games, video slot machines, photographs (including raw footage,

 4   out-takes and negatives), merchandising and program rights, in connection with or based upon the UFC

 5   brand, the bouts, Pre-Bout Events or Post-Bout Events.

 6              r. “Standard Fighter Contract” means the form contract for Professional MMA Fighters

 7   required by the athletic commission (if any) in which the bout takes place.

 8              s. “UFC Fighter” means a person who is paid by the UFC for participating in one or more

 9   professional MMA bouts promoted by the UFC and/or whose Identities were acquired for use and/or

10   used in UFC Licensed Merchandise and/or UFC Promotional Materials.

11              t. “UFC Licensed Merchandise” means all apparel, footwear, hats, photographs, souvenirs,

12   toys, collectibles, trading cards, and any and all other similar type products, including the sleeves,

13   jackets and packaging for such products, that is (i) approved by Zuffa, (ii) contains the trademarks,

14   trade names, logos and other intellectual property owned or licensed by Zuffa, including without

15   limitation, the licensed marks, and (iii) not created, used or sold in connection with the promotion of

16   any bouts, Pre-Bout Events or Post-Bout Events.

17              u. “UFC Promotional Materials” means all advertising fees, sponsorship fees, motion

18   pictures, all forms of radio, all forms of television (including live or delayed, interactive, home or

19   theater, pay, PPV, satellite, closed circuit, cable, subscription, multi-point, master antenna, or other),
20   telephone, wireless, computer, CD-ROM, DVD, any and all Internet applications, films and tapes for

21   exhibition in any and all media and all gauges, including but not limited to, video and audio cassettes

22   and disks, home video and computer games, arcade video games, hand-held versions of video games,

23   video slot machines, photographs (including raw footage, out-takes and negatives), merchandising and

24   program rights, in connection with or based upon the UFC brand, UFC bouts, UFC Pre-Bout Events or

25   UFC Post-Bout Events.

26              v. “Undercard” consists of preliminary bouts that occur before the Main Card of a
27   particular Card and are typically not included on the main broadcast of the event. Typically, Promoters

28   intend the Undercard to provide fans with an opportunity to see up-and-coming and/or local

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 1   professional MMA fighters or fighters who are not as well-known, popular, or accomplished as their

 2   counterparts on the Main Card.

 3   IV.        PARTIES
 4              28.   Defendant Zuffa, LLC is a Nevada limited liability company founded in 2000 and

 5   headquartered in Las Vegas, Nevada.

 6              29.   Zuffa is a privately-held entity of which billionaire founders Lorenzo Fertitta, Zuffa’s

 7   CEO, and Frank Fertitta each own, in trusts, approximately 40.5%. Zuffa’s President, Dana White,

 8   owns approximately 9% of the entity in family trusts. In 2010, January Capital, a subsidiary of Flash

 9   Entertainment, itself a wholly-owned subsidiary of the Executive Affairs Authority of Abu Dhabi,

10   purchased ten percent of Zuffa, and currently owns approximately 10%. Zuffa Pipco I, LLC, an entity

11   established for an employee participation interest plan, owns an approximate 0.08% interest in Zuffa.

12   The UFC was purchased by the Fertittas for $2 million in 2001 and is currently valued in excess of $2

13   billion.

14              30.   Zuffa is in the business of, among other things, promoting live Elite Professional MMA

15   bouts in the U.S. and elsewhere, under the trade names of the Ultimate Fighting Championship® or

16   UFC®. Under the UFC trademark, which is wholly owned by Zuffa, Zuffa promotes professional MMA

17   events for live audiences as well as live television, Internet and PPV broadcasts, and licenses, markets,

18   sells and distributes UFC Licensed Merchandise and/or Promotional Materials including, but not

19   limited to, tickets to bouts, live and taped television programming, broadcasts over an Internet
20   subscription service, sponsorships and other merchandise including video games, action figures, gyms,

21   fitness products, athletic equipment, apparel, footwear, hats, photographs, toys, collectibles, trading

22   cards and digital media products.

23              31.   All of Defendant’s actions described in this Complaint are part of, and in furtherance of,

24   the unlawful anticompetitive scheme and illegal restraints of trade alleged herein, and were authorized,

25   ordered, and/or performed by Defendant’s various owners, shareholders, officers, agents, employees, or

26   other representatives, including but not limited to, Lorenzo Fertitta, Frank Fertitta, and Dana White,
27   while actively engaged in the management of Defendant’s affairs, within the course and scope of their

28   roles or duties of employment, or with the actual, apparent, or ostensible authority of the UFC.

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 1          32.     Defendant has illegally acquired and continues to maintain monopsony power in the

 2   Relevant Input Market, i.e., the market for Elite Professional MMA Fighter services, through various

 3   illicit market restraints and exclusionary conduct, including unlawful restraints and exclusionary

 4   conduct in the Relevant Output Market.

 5          33.     Plaintiff Cung Le (“Le”), a resident of Elk Grove, California, is an Elite Professional

 6   MMA Fighter and a proposed representative of the Bout Class and the Identity Class. Le competed in

 7   UFC-promoted bouts in the United States and elsewhere from 2011 through the present. Le’s

 8   compensation for participation in those UFC bouts was artificially suppressed due to the

 9   anticompetitive scheme alleged herein. Le appeared on EA Sports UFC, the fourth installment of the

10   UFC video game franchise, initially released on June 17, 2014. EA Sports UFC is a mixed martial arts

11   fighting video game developed by Electronic Arts which is based in the Northern District of California.

12   Le has also appeared in Round 5 action figure sets, including limited edition sets, and Topps Trading

13   Card sets. Le’s Identity, including his autograph, was featured in UFC posters. Le’s Identity was

14   expropriated and his compensation for appearing in UFC Licensed Merchandise and UFC Promotional

15   Materials was artificially suppressed. Le was and continues to be injured as a result of the Defendant’s

16   unlawful conduct

17          34.     Plaintiff Nathan Quarry (“Quarry”), a resident of Lake Oswego, Oregon, is an Elite

18   Professional MMA Fighter and is a representative of the Identity Class. Quarry competed in UFC-

19   promoted bouts in the United States from April 2005 to March 2010. Quarry appeared in the UFC
20   Undisputed 2010 video game that debuted on May 25, 2010, in North America, and is still sold today.

21   UFC Undisputed 2010 has reportedly sold over 2 million units. Quarry has also been featured in a

22   number of trading cards manufactured and sold by Topps Trading Cards, including a series in 2010,

23   which are still sold today. Quarry’s Identity was expropriated and his compensation for appearing in

24   UFC Licensed Merchandise and UFC Promotional Materials was artificially suppressed due to the

25   scheme alleged herein. Quarry was and continues to be injured as a result of the Defendant’s unlawful

26   conduct.
27          35.     Plaintiff Jon Fitch (“Fitch”), a resident of Las Vegas, Nevada, is an Elite Professional

28   MMA Fighter and is a proposed representative of the Bout Class and the Identity Class. Fitch competed

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 1   in UFC-promoted bouts in the United States and elsewhere from October 2005 through February 2013.

 2   Fitch’s compensation for participation in those UFC bouts was artificially suppressed due to the

 3   anticompetitive scheme alleged herein. Fitch appeared in the first three versions of the UFC video

 4   game franchise, including UFC Undisputed 2009, UFC Undisputed 2010, and UFC Undisputed 3,

 5   debuting May 19, 2009, May 25, 2010, and February 14, 2012, respectively, each of which is still sold

 6   today. UFC Undisputed 2009 has reportedly sold over 3.5 million units, UFC Undisputed 2010 has

 7   reportedly sold over 2 million units, and UFC Undisputed 3 has sold a reported 1.4 million units. Fitch

 8   has also appeared in Round 5 action figure sets including limited edition sets, Topps Trading Card sets,

 9   and JAKKS Pacific action figure sets. Fitch’s Identity was expropriated and his compensation for

10   appearing in UFC Licensed Merchandise and UFC Promotional Materials was artificially suppressed

11   due to the scheme alleged herein. Fitch was and continues to be injured as a result of the Defendant’s

12   unlawful conduct.

13          36.     Plaintiff Brandon Vera (“Vera”), a resident of Chula Vista, California, is an Elite

14   Professional MMA Fighter and is a proposed representative of the Bout Class and the Identity Class.

15   Vera competed in UFC-promoted bouts in the United States and elsewhere from October 2005 through

16   August 2013. Vera’s compensation for participation in those UFC bouts was artificially suppressed due

17   to the anticompetitive scheme alleged herein. Vera appeared in the first three versions of the UFC video

18   game franchise, including UFC Undisputed 2009, UFC Undisputed 2010, and UFC Undisputed 3,

19   debuting May 19, 2009, May 25, 2010, and February 14, 2012, respectively, each of which is still sold
20   today. UFC Undisputed 2009 has reportedly sold over 3.5 million units, UFC Undisputed 2010 has

21   reportedly sold over 2 million units, and UFC Undisputed 3 has sold a reported 1.4 million units. Vera

22   also appeared in Topps Trading Card sets, including a series in 2012, which are still sold today. Vera’s

23   Identity was expropriated and his compensation for appearing in UFC Licensed Merchandise and UFC

24   Promotional Materials was artificially suppressed due to the scheme alleged herein. Vera was and

25   continues to be injured as a result of the Defendant’s unlawful conduct.

26          37.     Plaintiff Luis Javier Vazquez (“Vazquez”), a resident of Ontario, California, is an Elite
27   Professional MMA Fighter and is a proposed representative of the Bout Class and the Identity Class.

28   Vazquez competed in a UFC-promoted bout in the United States in June of 2011. Vazquez participated

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 1   in WEC-promoted bouts from August of 2009 through November of 2010, under Zuffa’s ownership.

 2   Vazquez’ compensation for participation in UFC bouts was artificially suppressed due to the

 3   anticompetitive scheme alleged herein. Vazquez appeared in Topps Trading Card sets, including a

 4   series in 2011, which are still sold today. Vazquez appeared on UFC Undisputed 3 by THQ, released in

 5   2012. Vazquez’s Identity was expropriated and his compensation for appearing in UFC Licensed

 6   Merchandise and UFC Promotional Materials was artificially suppressed due to the scheme alleged

 7   herein. Vazquez was and continues to be injured as a result of the Defendant’s unlawful conduct.

 8           38.    Plaintiff Kyle Kingsbury (“Kingsbury”), a resident of Sunnyvale, California, is an Elite

 9   Professional MMA Fighter and is a proposed representative of the Bout Class and the Identity Class.

10   Kingsbury competed in UFC-promoted bouts in the United States from December 2008 to July 2014.

11   Kingsbury’s compensation for participation in UFC bouts was artificially suppressed due to the

12   anticompetitive scheme alleged herein. Kingsbury appeared in Topps Trading Card sets, including a

13   series in 2012, which are still sold today. Kingsbury’s Identity was expropriated and his compensation

14   for appearing in UFC Licensed Merchandise and UFC Promotional Materials was artificially

15   suppressed due to the scheme alleged herein. Kingsbury was and continues to be injured as a result of

16   the Defendant’s unlawful conduct.

17   V.      CLASS ACTION ALLEGATIONS
18           A.     The Bout Class
19           39.    The Bout Class Plaintiffs bring this action individually and as a class action pursuant to
20   Rules 23(a), 23(b)(2), and 23(b)(3) of the Federal Rules of Civil Procedure on behalf of the “Bout

21   Class” consisting of:

22                  All persons who competed in one or more live professional UFC-
                    promoted MMA bouts taking place or broadcast in the United States
23                  during the Class Period. The Bout Class excludes all persons who are not
                    residents or citizens of the United States unless the UFC paid such
24                  persons for competing in a bout fought in the United States.

25           40.    There are multiple questions of law and fact common to the Bout Class that

26   predominate over any questions solely affecting individual members, including but not limited
27   to:

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 1                a. whether the market for promoting live Elite Professional MMA bouts, i.e., the Relevant

 2   Output Market, is a relevant market in this case;

 3                b. whether the relevant geographic market is the United States, or alternatively, North

 4   America;

 5                c. whether the Defendant possesses monopoly power in the Relevant Output Market;

 6                d. whether the market for Elite Professional MMA Fighter services, i.e., the Relevant Input

 7   Market, is an appropriate relevant market for analyzing the claims in this case;

 8                e. whether the Defendant possesses monopsony power in the Relevant Input Market;

 9                f. whether, through the conduct alleged herein, the Defendant willfully acquired,

10   maintained and enhanced monopoly power;

11                g. whether, through the conduct alleged herein, the Defendant willfully acquired,

12   maintained and enhanced monopsony power;

13                h. whether Defendant engaged in unlawful exclusionary conduct to impair the

14   opportunities of actual or potential rivals in the Relevant Output Market;

15                i. whether Defendant entered into exclusionary agreements with actual or potential rival

16   MMA Promoters, MMA venues, or other entities, that foreclosed the UFC’s actual or potential rivals

17   from competing in the Relevant Output Market;

18                j. whether the terms in the UFC’s contracts requiring exclusivity are, when taken together,

19   anticompetitive;
20                k. whether Defendant’s exclusionary scheme had anticompetitive effects in the Relevant

21   Markets;

22                l. whether Defendant’s actions alleged herein caused injury to Bout Class Plaintiffs and

23   the members of the Bout Class in the form of artificially suppressed compensation for participating in

24   UFC-promoted MMA bouts;

25                m. the appropriate measure of damages; and

26                n. the propriety of declaratory and injunctive relief.
27          41.      The members of the Bout Class are so numerous and geographically dispersed that

28   joinder of all members is impracticable. Although the precise number of such individuals is currently

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 1   unknown, Plaintiffs believe that the number of members in the Bout Class is, at minimum, in the

 2   hundreds, and that the members reside across the United States, including in this District.

 3            42.   The claims of the Bout Class Plaintiffs are typical of those of the class they seek to

 4   represent. Plaintiffs Cung Le, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury, like

 5   all other members of the Bout Class, were injured by Defendant’s illegally obtained market and

 6   monopsony power that resulted in artificially suppressed compensation for competing in UFC bouts.

 7            43.   The Bout Class Plaintiffs are more than adequate representatives of the Bout Class and

 8   their chosen Class Counsel (the undersigned) are more than adequate attorneys. The Bout Class

 9   Plaintiffs have the incentive, and are committed to prosecuting this action, for the benefit of the Bout

10   Class. The Bout Class Plaintiffs have no interests that are antagonistic to those of the Bout Class.

11   Plaintiffs have retained counsel highly experienced in antitrust and class action litigation.

12            44.   This action is maintainable as a class action under Fed. R. Civ. P. 23(b)(2) because

13   Defendant has acted and refused to act on grounds that apply generally to the Bout Class, and final

14   injunctive and declaratory relief is appropriate, and necessary, with respect to the Bout Class as a

15   whole.

16            45.   This action is maintainable as a class action under Fed. R. Civ. P. 23(b)(3) because

17   questions of law and fact common to the Bout Class predominate over any questions affecting only

18   individual members of the Bout Class. A class action is superior to other available methods for the fair

19   and efficient adjudication of this controversy. Prosecution as a class action will eliminate the possibility
20   of repetitious litigation. Treatment of this case as a class action will permit a large number of similarly

21   situated persons to adjudicate their common claims in a single forum simultaneously, efficiently, and

22   without the duplication of effort and expense that numerous individual actions would engender. Class

23   treatment will also permit the adjudication of relatively small claims by many class members who

24   otherwise could not afford to litigate an antitrust claim such as that asserted in this Complaint. The

25   Bout Class Plaintiffs are aware of no difficulties that would render this case unmanageable.

26            46.   The Bout Class Plaintiffs and members of the Bout Class have all suffered, and will
27   continue to suffer, antitrust injury and damages as a result of Defendant’s acquisition, enhancement, or

28   maintenance of monopsony power in the Relevant Input Market.

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 1          B.       The Identity Class
 2          47.      The Identity Class Plaintiffs bring this action individually and as a class action pursuant

 3   to Rules 23(a), 23(b)(2), and 23(b)(3) of the Federal Rules of Civil Procedure on behalf of “Identity

 4   Class” consisting of:

 5                   Each and every UFC Fighter whose Identity was expropriated or
                     exploited by the UFC, including in UFC Licensed Merchandise and/or
 6                   UFC Promotional Materials, during the Class Period in the United States.
 7          48.      There are multiple questions of law and fact common to the Identity Class that

 8   predominate over any questions solely affecting individual members, including, but not limited to, all

 9   of the common questions set out with respect to the Bout Class above, in addition to the following:

10                a. whether the Defendant expropriated or exploited the Identities of members of the

11   Identity Class in UFC Licensed Merchandise or Promotional Materials during the Class Period;

12                b. whether the Defendant’s actions alleged herein caused injury to the Identity Class

13   Plaintiffs and the members of the Identity Class in the form of suppressed compensation;

14                c. the appropriate measure of damages; and

15                d. the propriety of declaratory and injunctive relief.

16          49.      The number of members of the Identity Class is so numerous and geographically

17   dispersed that joinder of all members is impracticable. Although the precise number of such individuals

18   is currently unknown, Plaintiffs believe that the number of members is, at minimum, in the hundreds

19   and that such individuals reside across the country, including in this District.

20          50.      The Identity Class Plaintiffs’ claims are typical of those of the Identity Class they seek

21   to represent. Plaintiffs Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and

22   Kyle Kingsbury, like all other members of the Identity Class, have been injured by the UFC’s illegally

23   obtained monopoly and monopsony power, resulting in Plaintiffs’ suppressed earnings from the

24   UFC’s exploitation of their Identities.

25          51.      The Identity Class Plaintiffs are more than adequate representatives of the Identity Class

26   and their chosen Class Counsel (the undersigned) are more than adequate attorneys. The Identity Class

27   Plaintiffs have the incentive, and are committed, to prosecuting this action for the benefit of the Identity

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 1   Class. The Identity Class Plaintiffs have no interests that are antagonistic to those of the Identity Class.

 2   The Identity Class Plaintiffs have retained counsel experienced in antitrust and class action litigation.

 3            52.   This action is maintainable as a class action under Fed. R. Civ. P. 23(b)(2) because the

 4   UFC has acted and refused to act on grounds that apply generally to the Identity Class, and final

 5   injunctive and declaratory relief is appropriate, and necessary, with respect to the Identity Class as a

 6   whole.

 7            53.   This action is maintainable as a class action under Fed. R. Civ. P. 23(b)(3) because

 8   questions of law and fact common to the Identity Class predominate over any questions affecting only

 9   individual members of the Identity Class. A class action is superior to other available methods for the

10   fair and efficient adjudication of this controversy. Prosecution as a class action will eliminate the

11   possibility of repetitious litigation. Treatment of this case as a class action will permit a large number

12   of similarly situated persons to adjudicate their common claims in a single forum simultaneously,

13   efficiently, and without the duplication of effort and expense that numerous individual actions would

14   engender. Class treatment will also permit the adjudication of relatively small claims by many class

15   members who otherwise could not afford to litigate an antitrust claim such as that asserted in this

16   Complaint. The Identity Class Plaintiffs are aware of no difficulties which would render this case

17   unmanageable.

18            54.   The Identity Class Plaintiffs and members of the Identity Class have all suffered, and

19   will continue to suffer, antitrust injury and damages as a result of the UFC’s monopoly and monopsony
20   power that has been acquired, enhanced, and maintained by the anticompetitive scheme challenged in

21   this Complaint.

22   VI.      THE UFC’S MONOPOLY AND MONOPSONY POWER
23            A.    The UFC’s Monopoly Power in the Relevant Output Market
24                  1.      The Relevant Output Market
25            55.   The Relevant Output Market is the promotion of live Elite Professional MMA bouts.

26            56.   Promoters of live professional MMA bouts arrange contests between Professional MMA
27   Fighters who compete in one-one-one fights known as bouts.

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 1           57.    Live professional MMA bouts are held in venues for which admission tickets are sold.

 2   Revenues from the promotion of live professional MMA bouts may also include broadcast of the event

 3   on PPV, television, or over the Internet as well as through the sale of live and taped television

 4   programming, video-on-demand, merchandise (videos, DVDs, video games, apparel, hats, sporting

 5   equipment, etc.), event sponsorships, and the collection of MMA-related copyright and trademark

 6   royalties.

 7           58.    The successful promotion of a live Elite Professional MMA event requires Elite

 8   Professional MMA Fighters—i.e., those Fighters who have reputations for winning professional bouts

 9   or who have gained notoriety with the MMA fan base and thus who can attract a wide audience. Mixed

10   Martial Artists are skilled athletes who typically train for years before competing professionally. A

11   successful promotion of a live Elite Professional MMA event also requires a suitable venue, access to

12   PPV or television distribution outlets, sponsors and endorsements.

13           59.    MMA is a unique blend of various martial arts disciplines, including, e.g., boxing, Muay

14   Thai (kick-boxing), judo, wrestling, Brazilian jiu-jitsu, taekwondo and karate. The rules of MMA

15   differentiate it from other combat sports (such as boxing, which does not allow kicks, takedowns,

16   chokeholds, joint-locks, or any strikes below the waist). Similarly, wrestling does not allow striking of

17   any kind (kicks, punches, etc.), and does not have an outlet for elite amateur wrestlers to continue their

18   athletic careers as wrestlers professionally.

19           60.    MMA is distinct from “professional” wrestling as currently promoted under the
20   umbrella of the World Wrestling Entertainment (“WWE”). Professional wrestling is now

21   acknowledged to be “staged”—that is, scripted entertainment involving acting with the outcome of

22   individual matches predetermined. Combat sports such as boxing or those that are limited to a single

23   martial art, such as judo, are not adequate substitutes for live Elite Professional MMA. There is no

24   meaningful market substitute amongst the television-viewing and ticket-paying audience for the sport

25   of MMA. Single discipline combat sports, such as boxing and kick-boxing, do not qualify as economic

26   substitutes because they do not enjoy reasonable interchangeability of use and cross-elasticity of
27   demand amongst the consuming audience.

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 1          61.     Boxing does not combine different elements from a diverse set of martial arts, as it is

 2   limited to only strikes with the hands above the waist on an opponent, and hence does not provide a

 3   viewing experience akin to MMA. Indeed, while state athletic gaming commissions (or equivalents

 4   thereof) sanction both boxing and MMA events, such commissions impose strict requirements that

 5   define each sport separately. Such distinctions include the method of scoring, weight classes, the

 6   duration and number of rounds, and the methods of combat that may be employed. For example,

 7   scoring in live Professional MMA bouts is based on athletic commission-approved definitions and rules

 8   for striking (blows with the hand, feet, knees or elbows) and grappling (submission, chokeholds, throws

 9   or takedowns), most forms of which are prohibited in boxing.

10          62.     Promotion of live Elite Professional MMA events is not reasonably interchangeable with

11   promoting any other sport or entertainment, including boxing and/or kick-boxing. For instance, and on

12   information and belief, raising the prices for live MMA events above competitive levels by a small but

13   significant amount for a substantial period of time would not cause so many consumers to switch to

14   other sporting events or entertainment options that such price inflation would be unprofitable.

15   Moreover, dropping the price for attending or viewing any other sport relative to the price of attending

16   or viewing an MMA event by a small but significant amount for a substantial period of time would not

17   cause so many consumers to switch to the other sport that such relative price difference would be

18   profitable for the non-MMA event.

19                  2.      The Relevant Geographic Market
20          63.     The relevant geographic market for the Relevant Output Market is the United States,

21   and, in the alternative, North America. In other words, the promotion of live MMA bouts in the United

22   States—and in the alternative, North America—is the appropriate market for analyzing the claims in

23   this case. For purposes of geographic boundaries of the Relevant Output Market, bouts that take place

24   outside of the U.S. (or in the alternative, outside of North America), but which are typically broadcast

25   live (or subject to a delay to account for differences among time zones) via television, Internet and/or

26   PPV into the U.S. (or in the alternative, North America), are in the relevant geographic market. A bout
27   which neither takes place in the U.S. nor is broadcast into the U.S. is not in the geographic market.

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 1          64.     MMA events involving Elite Professional MMA Fighters are typically broadcast in the

 2   U.S. on national television and reported on by national broadcasters (ESPN, FOX Sports, etc.) in

 3   national media outlets. U.S. consumers do not view MMA events staged or broadcast outside of the

 4   U.S. as reasonable substitutes for events staged in the U.S. or broadcast into it. Barriers associated with

 5   language, travel, and other costs separate non-U.S.-promoted bouts from bouts promoted in the U.S.

 6   The PPV, broadcast, and other rights to MMA promotions are sold separately in each country and

 7   region. Consumers in the U.S. would not view events which are neither fought nor broadcast widely in

 8   the U.S., and would not see such non-U.S. events as reasonable substitutes for bouts fought or

 9   broadcast in the U.S. A small but significant increase in ticket prices for bouts fought or viewable in the

10   U.S. would not cause so many consumers to switch to bouts not fought or broadcast in the U.S. to make

11   such an increase unprofitable.

12          65.     The United States is the only geographic area in which MMA Promoters operating in the

13   U.S. can practically turn for supplies and inputs necessary for promoting and broadcasting profitable

14   live MMA events to U.S. consumers. Staging a live event in the U.S. requires a venue in the U.S..

15   Broadcasting an event on television or PPV in the U.S., even if it takes place outside of the U.S.,

16   requires contracting with U.S. television broadcasting and/or PPV companies with licenses to operate

17   in the U.S. Bouts in the U.S. typically require mainly U.S.-based medical staff, judges, referees, and

18   athletic commissions.

19          66.     In the alternative, if the geographic market extends beyond the U.S., it would include
20   North America, which has the same time zones as does the U.S., and includes countries that abut the

21   U.S. geographically, cutting down on travel and other costs.

22                  3.       The UFC’s Monopoly Power with Respect to Promoting Live Elite
                             Professional MMA Bouts.
23

24          67.     At all relevant times, the Defendant had monopoly power in the Relevant Output

25   Market, i.e., the market for promoting live Elite Professional MMA bouts in the U.S. In the alternative,

26   even if the Relevant Output Market included North America, or indeed, the entire world, the UFC

27   would have monopoly power.

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 1           68.     The UFC obtained and maintains monopoly power in the Relevant Output Market, in

 2   large part, through the anticompetitive conduct alleged herein. The UFC possesses the ability to

 3   control, maintain and increase prices associated with the promotion of professional live MMA bouts

 4   above competitive levels and to impair and exclude competitors from promoting professional live

 5   MMA bouts whether the Relevant Output Market is limited to the U.S. or, in the alternative, North

 6   America, or the entire world. The UFC has the ability to foreclose, and has in fact foreclosed, would-be

 7   rivals from the market for promoting live Elite Professional MMA bouts taking place or broadcast in

 8   the U.S., North America or the world.

 9           69.     The UFC has, and has exercised, the power to impair and exclude competition in the

10   Relevant Output Market no matter how it is geographically defined.

11           70.     The UFC is, by far, the dominant provider of live Elite Professional MMA events in the

12   Relevant Output Market, regardless of whether the geographic market includes the U.S. only, North

13   America only, or the entire world. According to Zuffa’s President, Dana White, by 2010, the UFC had

14   essentially eliminated all of its competition. He announced that, within the sport of MMA: “There is no

15   competition. We’re the NFL. You don’t see people looking at the NFL and going, ‘Yeah, but he’s not

16   the best player in the world because there’s a guy playing for the Canadian Football League or the

17   Arena League over here.’ We’re the NFL. There is no other guy.”

18           71.     The UFC possesses the ability to preclude or delay new entry into the Relevant Output

19   Market, to raise would-be rivals’ costs in that market, to impair the opportunities and efficiencies of
20   would-be rivals, and to control prices and exclude competition.

21           72.     The UFC enjoys high profit margins on its sales in the Relevant Output Market in the

22   U.S., North America, and around the world. The UFC’s worldwide profit margins are among the

23   highest, if not the highest, in professional sports.

24           73.     Because, as alleged below, the UFC possesses monopsony power in the Relevant Input

25   Market, i.e., the market for Elite Professional MMA Fighter services, the UFC has been able to use that

26   dominance as a means to restrict access and limit expansion of actual or potential rivals into the
27   Relevant Output Market. Through, e.g., exclusive contracts with MMA Fighters, the UFC has deprived

28   potential and actual competitors of Elite Professional MMA Fighter services. The UFC has also used its

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 1   ill-gotten power in the Relevant Markets to restrict its actual or potential rivals’ access to top quality

 2   venues, sponsors, endorsements, PPV and television broadcast outlets. The UFC exercises its

 3   monopoly power to exclude competition for live Elite Professional MMA events, PPV access, athlete

 4   and event endorsement rights, taped television programming, video-on-demand, merchandise (videos,

 5   DVDs, video games, apparel, hats, sporting equipment, etc.), event and fighter sponsorships, and

 6   copyright and trademark royalties.

 7          74.     As a result of its anticompetitive conduct, as alleged herein, the UFC receives

 8   approximately 90% of all revenue generated by MMA events from the Relevant Output Market in the

 9   U.S. and North America, and upon information and belief, throughout the entire world. From October

10   1, 2012 to September 30, 2013, Zuffa’s annual revenues were approximately $483 million, with

11   approximately $256 million generated by the promotion of live events, and the remaining $227 million

12   generated by ancillary revenue streams, which include but are not limited to, merchandising, licensing

13   fees, sponsorships, advertising fees, video game fees, and digital media revenue streams. Current UFC

14   revenues are estimated to exceed $500 million annually.

15          75.     Barriers to entry in the Relevant Output Market are high for several reasons, including

16   that, inter alia, establishing and maintaining a rival MMA promotion requires a substantial investment

17   of capital to be able to promote professional MMA bouts involving Elite Professional MMA Fighters

18   successfully. Successful promotion requires the ability to secure appropriate venues, sponsorships,

19   endorsements, and PPV and/or television distribution rights. The UFC asserts that the “UFC brand is
20   more recognizable than the sum of its individual fighters, as evidenced by its ability to nearly sell out

21   venues even before announcing the main card to the public.” According to Lorenzo Fertitta, “Zuffa has

22   built the UFC into an international brand that, in many instances, has been synonymous with the

23   rapidly growing sport of MMA.” In terms of promotions, prospective market entrants cannot enter the

24   Relevant Output Market unless they can attract and retain Elite Professional MMA Fighters. Actual or

25   potential rival promoters cannot attract and retain necessary Elite Professional MMA Fighters unless

26   they can demonstrate that they can promote a profitable bout that will result in potentially competitive
27   compensation to the fighters. The UFC has also amassed an unparalleled content video library of bouts

28   and continues to acquire rights to additional footage libraries which are an important component to

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 1   marketing Elite Professional MMA Fighters and bouts. The UFC’s anticompetitive conduct—which

 2   deprives would-be rival promoters of MMA events of necessary inputs to pull off successful

 3   promotions, including through exclusionary contracts with Elite Professional MMA Fighters

 4   themselves—creates high barriers to entry for would-be rival promoters.

 5              B.    The UFC has Monopsony Power in the Relevant Input Market
 6                    1.     The Relevant Input Market
 7              76.   The Relevant Input Market is the market for Elite Professional MMA Fighter services.

 8              77.   Elite Professional MMA Fighters are elite athletes who typically train for years before

 9   competing professionally. In live professional MMA bouts, Mixed Martial Artists compete by using

10   multiple disciplines of martial arts, including wrestling, judo, jiu-jitsu, Muay Thai, karate, taekwondo

11   and boxing. Such bouts are registered with, sanctioned by and conducted according to rules

12   promulgated by the Athletic Commission (or equivalent thereof) for the jurisdiction in which the bout

13   is held.

14              78.   Elite Professional MMA Fighters are typically compensated for participating as a

15   combatant in a live Elite Professional MMA bout.

16              79.   Athletes who have trained for, and now engage in, sports other than MMA, including

17   professional boxing, and those who engage in a single martial art, such as judo, are not substitutes for

18   Elite Professional MMA Fighters. For instance, boxers and those who engage in a single martial art are

19   generally not trained in the additional forms of martial arts (which may include wrestling, judo, jiu-
20   jitsu, taekwondo, Muay Thai and karate) necessary to become and successfully compete as an Elite

21   Professional MMA Fighter.

22              80.   Importantly, there are no reasonably interchangeable sports to which Elite Professional

23   MMA Fighters can turn when demand and compensation for Elite Professional MMA Fighters is

24   artificially suppressed below competitive levels. Other martial arts disciplines do not have the

25   audiences necessary for the fighters to earn competitive wages or even generally to be paid at all. For

26   this and other reasons, no material number of Elite Professional MMA Fighters could successfully
27   transition to other sports sufficient to prevent a monopsonist in the market for Elite Professional MMA

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 1   Fighter services from artificially suppressing Elite Professional MMA Fighter compensation by even a

 2   significant amount for a substantial period of time.

 3          81.     For instance, with respect to judo, tournaments occur infrequently, and the major ones

 4   (World Championships, Olympics) are for “amateur” fighters, that is, unpaid athletes. Brazilian Jiu

 5   Jitsu (“BJJ”) is a popular amateur sport, but there are very few tournaments that offer more than

 6   nominal prizes (as opposed to awarding salaries or prize money to competitors) and even those occur

 7   rarely. Karate and Muay Thai, much like BJJ and judo, are mainly amateur disciplines. Muay Thai and

 8   kick-boxing are striking disciplines that do not employ any of the grappling techniques of MMA of and

 9   in which knowledge and proficiency is required to successfully compete. None of these sports would be

10   plausible alternatives for Elite Professional MMA Fighters who are facing artificial suppression of their

11   compensation by a monopsonist in the market for Elite Professional MMA Fighter services.

12          82.     Neither boxing nor “professional” WWE wrestling provides reasonable alternatives for

13   Elite Professional MMA Fighters. Professional boxing requires years of intensive, specialized and

14   limited training in a striking art that MMA Fighters do not undergo. While Elite Professional MMA

15   Fighters do train in boxing, that is but one of many martial arts disciplines Elite Professional MMA

16   Fighters must practice, and it is not (and, indeed, cannot) be their sole focus. As a result, no material

17   number of Elite Professional MMA Fighters could successfully transition to boxing sufficient to

18   prevent a monopsonist in the market for Elite Professional MMA Fighter services from artificially

19   suppressing Elite Professional MMA Fighter compensation below competitive levels by even a
20   significant degree for a substantial period of time.

21          83.     Although professional wrestling does pay compensation to its “wrestlers,” professional

22   wrestling events are staged, and depend predominantly on acting ability. It is extremely unusual for an

23   athlete to possess the right combination of skills to excel in both MMA and professional wrestling, and

24   furthermore, professional wrestling is not a sport at all requiring competition between athletes. For this

25   reason alone, professional wrestling is not a reasonable substitute for MMA. No material number of

26   Elite Professional MMA Fighters could successfully transition to professional wrestling sufficient to
27   prevent a monopsonist in the market for Elite Professional MMA Fighter services from artificially

28   suppressing MMA Fighter compensation by even a significant degree for a substantial period of time.

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 1          84.     Because other sports are not plausible alternatives for Elite Professional MMA Fighters,

 2   reducing the compensation of Elite Professional MMA Fighters below competitive levels by even a

 3   significant degree for a substantial period of time will not cause sufficient numbers of Elite

 4   Professional MMA Fighters to switch to other sports or professions to make the Elite Professional

 5   MMA Fighter compensation suppression unprofitable. Quite simply, MMA is a highly specialized and

 6   unique sport engaged in by elite athletes with years of cross-disciplinary training.

 7                  2.      The Relevant Geographic Market
 8          85.     The relevant geographic market for the Relevant Input Market is the United States, and

 9   in the alternative, North America.

10          86.     A monopsonist in the Relevant Input Market would need to control only fighter services

11   in the United States, or in the alternative in North America, to be able to suppress Elite Professional

12   MMA Fighter compensation substantially below competitive levels.

13          87.     Elite Professional MMA Fighters in the United States, or in the alternative, North

14   America, do not view participation in MMA bouts outside of the United States (or, in the alternative,

15   North America) as a reasonable substitute for bouts in the United States (or, in the alternative, North

16   America). Competing abroad imposes substantial costs on Elite Professional MMA Fighters, including

17   higher costs of training, travel, and lodging and reduced sponsorship income. Moreover, Elite

18   Professional U.S. MMA Fighters may have difficulty, or face significant costs associated with,

19   obtaining necessary visas and approvals for themselves, family members, sparring partners, or trainers
20   needed for fighting abroad. As a result, a U.S.-based MMA Fighter could not practically turn to a non-

21   U.S.-based MMA Promotion company to earn a living or competitive compensation as an Elite

22   Professional MMA Fighter.

23          88.     Nearly all non-U.S.-based MMA promotion companies focus on regional or local

24   fighters. Moreover, non-U.S.-based MMA Promoters frequently hold only a few events per year—very

25   few of which are generally or widely open to non-locals. Further, non-U.S.-based MMA Promoters

26   lack the prestige of the UFC and most MMA Fighters would not view non-U.S.-based promoters as
27   interchangeable with the UFC. In any case, the UFC deprives non-U.S.-based promoters of Elite

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 1   Professional MMA Fighters. Accordingly, no significant number of U.S. Fighters can earn competitive

 2   compensation for appearing in live Elite Professional MMA events in foreign geographic markets.

 3          89.     Successful foreign fighters have immigrated to the U.S. to participate in Elite

 4   Professional MMA bouts. But, to the extent that a U.S. MMA Promoter such as the UFC is a net

 5   importer of foreign labor, this fact would serve to enhance its monopsony power and bargaining power

 6   vis-à-vis U.S. MMA Fighters and MMA Fighters as a whole.

 7                  3.      The UFC has Monopsony Power with Respect to Elite Professional MMA
                            Fighter Services.
 8

 9          90.     At all relevant times, the UFC had and continues to have monopsony power in the

10   Relevant Input Market, i.e., the market for Elite Professional MMA Fighter services, whether that

11   market includes only the United States, only North America, or, alternatively, the entire world.

12          91.     The UFC controls the vast majority of the market for Elite Professional MMA Fighter

13   services whether the geographic market includes only the United States, only North America, or the

14   entire world. The UFC possesses the ability to reduce the demand of, and compensation for, Elite

15   Professional MMA Fighter services without losing so much revenue as to make their conduct

16   unprofitable. As a result of the UFC’s monopsony power in the Relevant Input Market, Elite

17   Professional MMA Fighters do not have the ability to turn to alternative MMA Promoters to earn

18   competitive compensation in response to the UFC’s artificial suppression of demand and compensation

19   for Elite Professional MMA Fighter services.

20          92.     The UFC’s control of the Relevant Input Market affords it the ability to, inter alia, (i)

21   compensate Elite Professional MMA Fighters below competitive levels profitably for a substantial

22   period of time, (ii) artificially suppress demand for Elite Professional MMA Fighter services below

23   competitive levels, (iii) require UFC Fighters to enter into restrictive contracts, (iv) impair or preclude

24   UFC Fighters from engaging in their profession or working with would-be rival promoters; (v)

25   expropriate the rights to UFC Fighters’ Identities in perpetuity for little or no compensation (which is

26   below competitive levels), and (vi) expropriate the Identities and deprive UFC Fighters of competitive

27   levels of payment for the exploitation of their Identities in UFC Licensed Merchandise and/or

28   Promotional Materials licensed or sold by the UFC or its licensees.

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 1          93.      Whether the relevant market is the U.S. only, North America only, or the entire world,

 2   the UFC is capable of artificially reducing compensation—and has in fact artificially reduced

 3   compensation—of Elite Professional MMA Fighters without causing so many Elite Professional MMA

 4   Fighters to switch to other sports or professions so as to make that compensation reduction

 5   unprofitable.

 6          94.      Barriers to entry in the Relevant Input Market are high. To become an Elite Professional

 7   MMA Fighter, one needs to be highly skilled and spend many years under specialized training in

 8   multiple martial arts disciplines. Because MMA is a unique blend of various martial arts disciplines,

 9   including boxing, Muay Thai (kick-boxing), judo, wrestling, BJJ, taekwondo and karate, a high level of

10   proficiency in any one discipline alone is not sufficient to achieve elite level status as an Elite

11   Professional MMA Fighter. For example, while a professional boxer may possess the mental and

12   athletic skill to box and take blows in the form of punches, if he does not possess expert ability to

13   grapple, wrestle or engage in other martial arts, he will not succeed as an Elite Professional MMA

14   Fighter. Elite Professional MMA Fighters are rare multidisciplinary athletes who can perform at very

15   high levels in more than one discipline. Also, training is costly and time consuming. To achieve elite

16   status, Professional MMA Fighters train daily, making alternative simultaneous full-time employment

17   nearly impossible. Training also requires the services of professional trainers and the relevant space and

18   training equipment. To rise to the level of a fighter capable of being promoted by the UFC, i.e., an Elite

19   Professional MMA Fighter, a Professional MMA Fighter typically needs to work his or her way up the
20   ranks in local and regional promotions, often earning very little money in the process.

21          C.       Overview of the MMA Industry and the UFC’s Dominance
22          95.      The popularity of MMA as a combat sport began to take off during the 1990s.

23   Professional MMA has since become one of the most popular and fastest growing spectator sports in

24   the U.S. and North America.

25          96.      Elite Professional MMA Fighters are among the most respected professional athletes in

26   the world. Elite Professional MMA Fighters include world-class and Olympic athletes utilizing all
27   disciplines of martial arts, including wrestling, judo, jiu-jitsu, Muay Thai, taekwondo, karate and

28   boxing, in one-on-one bouts.

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 1          97.     Professional MMA Fighters typically achieve the status of Elite Professional MMA

 2   Fighters as UFC Fighters only after participating successfully in events organized by other local or

 3   regional MMA Promoters.

 4          98.     MMA Promotions are not organized into leagues or teams as is common in many

 5   organized sports. Typically, Professional MMA Fighters compete against other Professional MMA

 6   Fighters who are under contract with the same promoter.

 7          99.     MMA Promoters host events that ordinarily contain seven to twelve bouts on a Card,

 8   and bouts are organized by recognized weight classes. Together, all of the bouts for an event constitute

 9   the Card. The Card at a typical event includes an Undercard, or a set of preliminary bouts, that

10   generally feature up-and-coming and/or local Professional MMA Fighters, and the Main Card, which

11   typically features Professional MMA Fighters who are further along in their careers and/or possess

12   higher levels of public notoriety.

13          100.    The strength of the Card draws ticket purchases for live events as well as viewers for

14   broadcasts and purchases of PPV access (provided the promotion garners PPV coverage). During the

15   Class Period, it has been and continues to be extremely rare for a bout that is not promoted by the UFC

16   to garner PPV coverage. During the Class Period, no would-be rival MMA Promoter has staged a

17   profitable PPV event featuring Professional MMA Fighters. The strength of the Card also draws

18   merchandise sales and licensing fees, and contributes to the rates paid by sponsors, advertisers and

19   broadcasters. The Card thus helps to determine the size and scale of the physical venue in which the
20   event takes place, the scope and breadth of its distribution and event sponsorship rates, and the

21   merchandising campaign for the event.

22          101.    Professional MMA events are sanctioned in the U.S. by the same state athletic

23   commissions as boxing. Nearly all athletic commissions in North America are members of the

24   Association of Boxing Commissions (“ABC”). All member commissions of the ABC have passed the

25   Unified Rules of Mixed Martial Arts (“Rules”) which govern professional MMA bouts and establish

26   MMA weight classes, ring-fighting area requirements and equipment, length of and number of rounds
27   in a bout, the rest period between rounds, the nature of the protective gear worn by fighters, judging

28   requirements, fouls, and other bout rules and regulations.

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 1          D.     The UFC’s Complete Control of its Sport is Unique in the Context of Big-Time
                   Professional Sports
 2

 3          102.   As more fully set forth below, due to the anticompetitive scheme alleged herein, the

 4   UFC has been able to suppress Elite Professional MMA Fighters’ compensation to a very low

 5   percentage of the revenues generated from bouts. On information and belief, UFC Fighters are paid

 6   approximately 10-17% of total UFC revenues generated from bouts. As alleged further below, all UFC

 7   Fighters—from the highest paid to the lowest—have had their compensation artificially reduced due to

 8   the anticompetitive scheme challenged in this Complaint.

 9          103.   Athletes in sports such as boxing and the “Big 4,” i.e., football, baseball, basketball and

10   hockey in the United States, generally earn more than 50% of league revenue, a significantly higher

11   percentage of revenues than those paid to UFC Fighters.

12          104.   Boxers Floyd Mayweather and Manny Pacquiao take the number one and two spots,

13   respectively, on the “Forbes 100-highest paid athletes list,” earning upwards of $40 million in

14   guaranteed purse for a single bout, before inclusion of PPV profits. Mayweather’s compensation has

15   reportedly topped $90 million for a single bout for an event that draws comparable PPV purchase rates

16   to high-profile UFC events. As a result of the scheme alleged herein, UFC Fighters get a fraction of

17   that level of compensation. Famed boxing promoter Bob Arum, for example, pays his fighters

18   approximately 80% of the proceeds generated by a Card. Comparing the fighter compensation between

19   boxing and the UFC, Arum accurately described the disparity between the UFC and boxing as follows:

20   “Because of the monopoly that the UFC has, they [the UFC] pay[s] their fighters maybe 20% of the

21   proceeds that come in on a UFC fight.”

22          E.     The Growth of MMA in the United States

23          105.   MMA’s initial growth in the 1990s was accompanied by the growth of competing MMA

24   Promoters. The UFC was founded in 1993. By 2001, MMA Promotions were competing vigorously in

25   the U.S. Prior to 2011, the existence of such competition allowed UFC Fighters—such as Mark Kerr,

26   BJ Penn, Mark Coleman, and Carlos Newton—to receive higher purses with UFC competitors. In

27   2001, Zuffa purchased the UFC from Semaphore Entertainment Group (“SEG”) for $2 million and

28   appointed White as its President. The UFC initially claimed that it was seeking co-promotion

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 1   arrangements with its competitors. At that time, according to White’s contemporaneous public

 2   statements, co-promoting MMA events would benefit both the UFC and its competitors by ensuring

 3   that MMA events featured the best bouts between Professional MMA Fighters regardless of the

 4   Fighter’s Promoter. In fact, the UFC never intended to co-promote events.

 5          106.    By the mid-2000s, professional MMA had gained even broader mainstream support in

 6   the United States. The UFC and its competitors actively promoted MMA events and began introducing

 7   the sport to the public through more extensive television programming and marketing activities. As an

 8   overall result of competition between rival promotions in the Relevant Input and Output Markets

 9   through the early 2000s, MMA’s fan base grew dramatically; while fewer than 90,000 people

10   purchased the UFC’s first MMA PPV event, by 2006, the UFC’s PPV events drew more than one

11   million buyers.

12   VII.   THE UFC’s ANTICOMPETITIVE SCHEME AND ITS RESULTING ANTITRUST
            INJURIES TO PLAINTIFFS AND MEMBERS OF THE CLASSES
13
            A.      The UFC’s Anticompetitive Scheme to Acquire, Maintain, and Enhance Monopoly
14                  and Monopsony Power
15                  1.      The UFC Has Leveraged its Monopoly and Monopsony Power to Deny
                            Necessary Inputs to Would-Be Rival MMA Promoters.
16

17          107.    The UFC has illegally acquired, maintained, and exercised monopsony power in the

18   market for Elite Professional MMA Fighter services, i.e., the Relevant Input Market, through an

19   aggressive series of exclusionary and anticompetitive acts. The anticompetitive effects associated with

20   this ill-gotten monopsony power manifest themselves as artificially suppressed compensation for Elite

21   Professional MMA Fighters in the Bout Class, and the improper expropriation of Elite Professional

22   MMA Fighters’ Identities, resulting in artificial underpayments (including non-payment) to UFC

23   Fighters in the Identity Class.

24          108.    Unless an MMA Promoter can attract and retain Elite Professional MMA Fighters,

25   develop a fan base, attract sponsors, secure a major television distribution outlet, and secure high-

26   quality venues, it cannot compete successfully in the Relevant Output Market. MMA Promoters cannot

27   attract and retain Elite Professional MMA Fighters unless they can demonstrate to such athletes that

28   they can promote profitable bouts that will result in significant compensation to those Fighters over an

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 1   extended period of time. To achieve Elite status in the MMA Industry, Professional MMA Fighters

 2   must register wins in widely-viewed MMA events that build public notoriety, reputation, fan base, and

 3   earnings potential. Without big-ticket MMA Cards with Elite Professional MMA Fighters, MMA

 4   Promoters are unable to generate sufficient public demand to lock down sponsors and venues large

 5   enough to generate enough revenues to be able to offer sufficient bout purses that would enable them to

 6   attract Elite Professional MMA Fighters. The UFC, knowing this, has engaged in a scheme to deny its

 7   actual or potential rival MMA Promoters (and any potential future rivals) the access to inputs necessary

 8   to promote successful MMA events (e.g., Elite Professional MMA Fighters, major sponsors, key

 9   venues).

10                         a.        The UFC Uses Exclusive Contracts with UFC Fighters as Part of its
                                     Anticompetitive Scheme.
11

12          109.    The UFC has illegally obtained and maintained its monopoly position in the Relevant

13   Output Market and its monopsony position in the Relevant Input Market (i.e., the market for Elite

14   Professional MMA Fighter services), through an anticompetitive scheme to exclude and impair actual

15   or potential rival MMA Promoters such that they do not have access to the Elite Professional MMA

16   Fighters necessary to sustain and grow a profitable rival promotion company. As a result, Elite

17   Professional MMA Fighters have no effective alternative promoter with whom to contract for live Elite

18   Professional MMA bouts.

19          110.    The UFC’s illegal monopsony position is sustained, in part, through the use of exclusive

20   dealing agreements with UFC Fighters that lock in Elite Professional MMA Fighter services

21   perpetually and exclusively for the UFC. The UFC’s exclusive contracts foreclose would-be rival

22   promoters from vital inputs—namely Elite Professional MMA Fighter services with the notoriety

23   needed to sustain a successful live Elite Professional MMA promotion. Discussing the UFC’s exclusive

24   contracts, White has conceded that, across the MMA Industry, “everybody knows how crazy we are

25   about protecting our contracts.”

26          111.    Through the anticompetitive scheme alleged herein, including by successfully

27   eliminating and impairing actual or potential rivals in the Relevant Output Market, the UFC has

28   garnered and maintained unrivaled bargaining power vis-à-vis Elite Professional MMA Fighters. The

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 1   UFC uses its monopsony power to extract exclusionary and restrictive concessions from all of its MMA

 2   Fighters.

 3          112.    All UFC Fighters are classified as independent contractors that are compensated based

 4   on the number of fights in which they participate. But the UFC uses standard form agreements with all

 5   or nearly all of its UFC Fighters that require, inter alia, exclusivity and assignments of the rights to

 6   Fighters’ Identities. Given that, through the alleged scheme, the UFC dominates the Relevant Output

 7   Market, i.e., the market for promoting live Elite Professional MMA events, Elite Professional MMA

 8   Fighters have little choice but to accept the UFC’s exclusionary terms if they want to try to earn a

 9   living as Elite Professional MMA Fighters.

10          113.    The UFC’s standard agreements with Fighters have contained, during the 2000s and

11   continuing into the Class Period, at least the following restrictive provisions:

12               a. The “Exclusivity Clause,” which binds UFC Fighters into a restricted relationship with

13   the UFC and prohibits them from appearing in bouts televised or organized by actual or potential rival

14   promotions unless approved by the UFC, thus preventing athletes from receiving competitive purses

15   from co-promoted or competitor MMA events. This clause blocks actual or potential rival promotions

16   from having access to Elite Professional MMA Fighters under contract with the UFC for protracted

17   periods of time. Regardless of the term of the agreement, the provision includes various termination

18   and extension clauses that can be triggered at the UFC’s sole discretion, thereby effectively extending

19   the exclusivity provisions indefinitely.
20               b. The “Champion’s Clause,” which allows the UFC to extend a UFC Fighter’s contract

21   for as long as the athlete is a “champion” in his or her weight class, preventing the Fighter from

22   financially benefiting from his or her “championship” status by soliciting competing bids from other

23   MMA Promotions even after the end of his or her original UFC contract term. This clause specifically

24   blocks actual or potential rival promotions from having access to Elite Professional MMA Fighters,

25   which are needed for a would-be rival promotion event to be commercially successful. This clause also

26   denies UFC Fighters free agency—despite their being independent contractors—thereby retaining the
27   Fighter’s services for the UFC effectively indefinitely.

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 1              c. The “Right to First Offer” and “Right to Match” Clauses, which grant the UFC the

 2   option to match the financial terms and conditions of any offer made to a UFC Fighter for an MMA

 3   bout even after the Fighter’s contract has expired. Because the UFC’s contracts typically have already

 4   required the Fighters to divest themselves of ancillary rights associated with the sale of their Identities

 5   in perpetuity, rival offers, to the extent they could even exist, would not include compensation for

 6   rights associated with the Fighters’ Identities and thus are artificially suppressed or would force would-

 7   be rivals to bid to such a level to make the investment no longer profitable.

 8              d. The “Ancillary Rights Clause,” which grants the UFC exclusive and perpetual

 9   worldwide personality and Identity rights not only of the UFC Fighter, but of “all persons associated

10   with” the athlete, in any medium, including merchandising, video games and broadcasts, and for all

11   other commercial purposes, thus preventing MMA Fighters from financially benefiting from the

12   reputations that they built during their MMA careers even after death, and locking UFC Fighters out of

13   revenues generated by the exploitation of their Identities, including after the term of the contract. Thus,

14   although a single loss could allow the UFC to terminate a UFC Fighter’s contract, the Ancillary Rights

15   Clause remains in effect in perpetuity. As a result, the UFC can restrict a UFC Fighter’s ability to

16   promote himself or herself for profit even after the UFC Fighter’s career with the UFC has ended.

17   Further, a separate clause in the agreement prevents a Fighter from ever referring to himself or herself

18   as a “‘UFC fighter’” or “using the term ‘UFC’ without written permission.” Among other

19   anticompetitive effects of this provision, even if a would-be rival promoter could get access to a current
20   or former UFC champion, those champions cannot advertise their status as UFC champions.

21   Accordingly, a potential rival promoter would be impaired in attempting to contract with the former

22   UFC Fighter to headline live MMA bouts.

23              e. The “Promotion Clause,” which requires UFC Fighters to attend, cooperate and assist in

24   the promotion of bouts in which they fight and, as required by the UFC, any other bouts, events,

25   broadcasts, press conferences and sale of merchandise, for no additional compensation. By contrast, no

26   affirmative obligation exists for the UFC to promote the UFC Fighter. In fact, the UFC regularly
27   punishes athletes who do not bow to its whims. As just one example, UFC light-heavyweight champion

28   Jon Jones refused to take a short-notice replacement of one of his opponents. After his refusal, the UFC

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 1   issued a press release stating, “Lorenzo Fertitta (UFC chairman and CEO) and I [Dana White] are

 2   disgusted with Jon Jones and Greg Jackson [Jones trainer].” White continued by stating, “UFC 151 will

 3   be remembered as the event Jon Jones and Greg Jackson murdered.” By denigrating the UFC Fighter in

 4   public, the UFC drastically impacts a fighter’s earnings ability as the consuming audience will support

 5   events featuring the UFC Fighter in lower numbers, leading to reduced payments for bouts and

 6   endorsements.

 7               f. The “Retirement Clause,” which gives the UFC the power “to retain the rights to a

 8   retired fighter in perpetuity.”

 9               g. Tolling provisions, which extend the term of the UFC Fighter’s contract during periods

10   when he or she is injured, retired, or otherwise declines to compete, thus virtually prohibiting even

11   disgruntled athletes from sitting out the term and signing with a would be rival promoter.

12               h. The “Sponsorship and Endorsement Clause,” which grants the UFC sole discretion over

13   all sponsorship and endorsement approvals. In effect, the Sponsorship and Endorsement Clause

14   requires the approval of the UFC before an entity can contract with a UFC Fighter to sponsor or

15   endorse the entity’s product or service during any UFC events. This gives the UFC control over

16   sponsors and Fighters and allows the UFC to block opportunities for sponsors where: (i) the UFC has

17   decided to boycott the sponsor in retaliation for the sponsor having endorsed non-UFC Fighters or

18   otherwise worked with actual or potential rival MMA Promoters; (ii) the sponsors have refused to pay

19   the UFC’s “sponsorship tax,” which is a fee paid to the UFC for the right to sponsor a UFC Fighter; or
20   (iii) the sponsors are engaged in ancillary business endeavors that compete with the UFC in any

21   segment of the MMA Industry that the UFC intends to dominate, such as, e.g., MMA publications,

22   MMA video games, gyms, online MMA stores, energy drinks, online gaming sites, fan festivals and

23   apparel providers. This clause gives substantial power to the UFC to block sponsors from working with

24   actual or potential rival promoters and to deprive them of key revenue opportunities for themselves and

25   their fighters, making actual or potential rivals less profitable and a less attractive option for Elite

26   Professional MMA Fighters.
27           114.    As the UFC gained and then maintained market and monopsony power through this

28   anticompetitive scheme, including by eliminating actual or potential rivals, in or about January 2014, it

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 1   added provisions—such as, e.g., the “unilateral demotion-in-pay” provision which resets a Fighter’s

 2   pay to lower purse levels if a given UFC Fighter loses a bout, and additional restrictions on sponsorship

 3   rights—that further enhanced the UFC’s control over its Fighters.

 4          115.    None of the Plaintiffs in this matter is suing as part of this case, on behalf of himself or

 5   herself or any proposed class member, to enforce any rights or provisions of his or her particular UFC

 6   contract. Nor is any Plaintiff in this matter claiming, as part of this case, on behalf of himself or herself

 7   or any proposed class member, that his or her contract, standing alone, violates the antitrust laws.

 8   Rather, Plaintiffs allege here that all of the UFC’s contracts with Fighters—and the exclusionary

 9   provisions therein—taken together form part of the UFC’s anticompetitive scheme to impair actual or

10   potential rivals and enhance its monopoly power in the Relevant Output Market and monopsony power

11   in the Relevant Input Market. Cumulatively, the exclusionary contractual provisions deprive the UFC’s

12   would-be rivals of all or virtually all of the critical input necessary to compete in the MMA Industry,

13   that is, Elite Professional MMA Fighter services.

14                          b.      The UFC’s Exclusionary Scheme Included the Use of Threats,
                                    Intimidation, and Retaliation Against MMA Fighters Who Work
15                                  With or For Would-Be Rivals or Speak Out Against the UFC.
16          116.    As part of its exclusionary scheme, the UFC has retaliated against (i) UFC Fighters who

17   work or threaten to work with would-be rival promoters, (ii) MMA Fighters who might someday wish

18   to compete in the UFC, and (iii) would-be rival promoters who work with UFC Fighters. As a result,

19   UFC Fighters have refused offers to fight for actual or potential rival promoters, even those that offer

20   higher compensation, out of fear that the UFC would retaliate against both the promoter and the

21   Fighter. Professional MMA Fighters are deterred by the UFC’s threats because Professional MMA

22   Fighters recognize that being banned from future opportunities to fight for the UFC will substantially

23   diminish their ability to earn income as Elite Professional MMA Fighters. Moreover, the UFC has

24   control over key sponsors, sponsors the UFC threatens never to work with if they contract with an Elite

25   Professional MMA Fighter against the UFC’s wishes.

26          117.    For example, the UFC negotiated a deal with THQ, Inc. for the development of a UFC

27   video game. Zuffa required its athletes, for no compensation, to assign exclusively and in perpetuity

28   their likeness rights for video game use. Fighters who wished to negotiate this request were terminated.

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 1   White also publicly threatened all MMA Fighters, even those not under contract with Zuffa with a

 2   permanent ban from competing in the UFC if the Fighter chose to sign with EA Sports.

 3          118.    Additionally, following his victory over Matt Hughes in a welterweight title bout that

 4   had been promoted by the UFC, UFC Fighter B.J. Penn informed the UFC that he planned to sign with

 5   an actual or potential rival promotion company for a much higher payday than UFC was then offering.

 6   In response, the UFC’s Dana White called Penn and threatened that the UFC would ban Penn from

 7   fighting for the UFC forever if Penn worked with another promoter. White told Penn that Penn was

 8   “f***ing done! You’ll never fight in the UFC again! You’re finished. You’re scorched earth,

 9   motherf***er. Scorched earth. Don’t call me crying saying you want to come back because your

10   f***ing done!” White also threatened to remove or blur Penn’s face from UFC videos and promotions

11   and said he would remove his bout with Hughes from the UFC’s DVD library so that Penn “would be

12   forgotten.”

13          119.    The UFC punished and continues to punish Fighters that refuse, or consider refusing, the

14   UFC’s contractual terms, including by eliminating them from the UFC’s Promotional Materials.

15   Through the “Ancillary Rights Clause” of its Promotional Agreements with Fighters, the UFC retains

16   rights to the names and likenesses of every UFC Fighter in perpetuity. Randy Couture, a well-known

17   and historically accomplished UFC Fighter who has obtained championship titles in multiple weight

18   classes, refused to assign his Ancillary Rights and, instead, attempted to negotiate control over his

19   Identity. According to Couture, he had “issues with Zuffa” after “g[e]t[ting] off on the wrong foot over
20   the ancillary rights in my contract and signing away my name and image, which then led to the

21   [UFC] . . . having m[e] pulled out of the video game, pulled out of the ad campaigns with Carmen

22   Electra and all those things. Because I wasn’t willing to just sign those things away like most fighters

23   had done to date at that point, I think that immediately put me on the outs with the manager, with Dana

24   [White] and the people that own the company.” In fact, Couture lost the benefit of being promoted by

25   the UFC despite competing in bouts, including by being airbrushed out of the following UFC ad

26   campaign for refusing to assign his Identity to the UFC for no compensation:
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                     (Below, Couture is airbrushed out of the ad campaign.)
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 1                         c.        The UFC Uses Exclusive Contracts with Physical Venues and
                                     Sponsors to Impair and Foreclose Would-Be Rival MMA Promoters.
 2

 3          120.   The UFC has also frustrated entry and retarded rival expansion through a series of

 4   exclusive arrangements that foreclose would-be rival promoters from holding or distributing live Elite

 5   Professional MMA events through various venues.

 6          121.   Specifically, the UFC uses its control of the Relevant Input Market (garnered through

 7   the conduct alleged herein, including its exclusive contracts) to lock would-be rival promoters out of

 8   the highest revenue-generating physical venues for live Elite Professional MMA events in the U.S.

 9          122.   As a result of the UFC’s dominance in the Relevant Markets and as part of its

10   exclusionary scheme, the UFC imposes exclusivity provisions into its physical venue agreements that

11   severely limit, and in some cases remove altogether, the ability of any would-be competitor to hold

12   MMA events at premier venues in the U.S. For example, before and continuing through the Class

13   Period, the UFC has intentionally inserted provisions into its agreements with event venues that

14   prohibit the venues from staging live Elite Professional MMA events promoted by a would-be UFC

15   rival promoter within a specified time either before or after a UFC event at the venue. Throughout the

16   Class Period, the UFC has entered into such exclusionary provisions with top event venues along the

17   Las Vegas Strip and elsewhere. Intending to shut out actual or potential rivals with these “black out”

18   provisions in its venue contracts, the UFC has, for example, staggered its events in such venues along

19   the Las Vegas Strip so that no would-be rival promoter can hold live Elite Professional MMA

20   Promotions anywhere along the Las Vegas Strip—some of the most important and profitable venues

21   for MMA events in the world. As a result of the UFC’s exclusionary conduct, competing MMA

22   Promotions are therefore forced to use second-rate venues, thereby inhibiting their ability to promote

23   successful and profitable events, sell tickets and merchandise, secure major television distribution

24   outlets, attract Elite Professional MMA Fighters, and otherwise generate revenues from MMA events.

25          123.   As part of the scheme alleged herein, in or about June 2009 and continuing during the

26   Class Period, the UFC fundamentally restructured MMA sponsorship to: (a) require that sponsors

27   contract with and pay a fee to the UFC as a condition precedent to their ability to contract with any

28   UFC Fighter, and (b) prohibit any sponsor who wants to work with the UFC from contracting with

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 1   actual or potential rival promotion companies or sponsoring non-UFC MMA Fighters. The UFC’s

 2   conduct, as part of its anticompetitive scheme, impairs the ability of UFC Fighters to engage in

 3   individual or independent sponsor-fighter deals; blocks UFC Fighters from working with sponsors and

 4   brands that in any way support non-UFC events or fighters (and thereby blocks would-be rival MMA

 5   Promoters from access to important sponsors); and forces sponsors to drop deals with Professional

 6   MMA Fighters who do not want to sign with the UFC so as to coerce those Elite Professional MMA

 7   Fighters into signing exclusive contracts with the UFC. The UFC’s scheme also enables the UFC to

 8   unjustifiably obtain lucrative exclusive event sponsorship deals for itself. Consider just two examples

 9   involving Quinton Jackson (“Jackson”). Jackson negotiated a deal with a company called “Round 5” to

10   develop an action figure based upon his “Rampage” persona. The UFC blocked the deal, and

11   subsequently entered into its own deal with Round 5 for the production of UFC action figures, a line

12   that included Jackson’s likeness. Likewise, Jackson negotiated a deal with Reebok for sponsorship,

13   which had not been approved by the UFC, and the UFC used its dominance to block Jackson’s

14   proposed sponsorship deal with Reebok in order to subsequently obtain a deal for itself.

15          124.    The Sponsorship and Endorsement Clause in UFC contracts with UFC Fighters

16   prohibits UFC Fighters from contracting with sponsors unless they first obtain approval from the UFC.

17   Before a bout, the UFC notifies the UFC Fighters (and their respective managers) of the authorized list

18   of sponsors that may appear on a UFC Fighter during an event. The UFC also requires sponsors in

19   certain MMA Industry segments to pay anywhere from $50,000 to $250,000 in licensing fees, i.e., a
20   “sponsorship tax,” directly to the UFC for the right to associate their brands with specific UFC

21   Fighters. Only then may the sponsor negotiate with and sponsor a UFC Fighter during UFC events.

22   This “tax,” in conjunction with bans of other MMA Industry sponsorship segments, has been

23   selectively utilized to essentially eliminate entire segments of the MMA Industry as income sources for

24   UFC Fighters and was implemented to enable the UFC to obtain lucrative licensing fees (“tax”) and

25   event sponsorships for itself as well as to move into and dominate MMA Industry segments unrelated

26   to the promotion of live events.
27          125.    Upon information and belief, during the Class Period, the UFC has regularly threatened

28   UFC sponsors by indicating that if they work with actual or potential rival promoters or sponsor

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 1   Professional MMA Fighters who compete in the events of such MMA Promoters, the UFC will ban the

 2   sponsors from sponsoring UFC events or from sponsoring any UFC Fighters. As a result of these

 3   threats, on information and belief, sponsors have refused to sponsor Professional MMA Fighters in

 4   actual or potential rival promotions or to work with UFC Fighters on terms other than those demanded

 5   by the UFC. Since sponsors are well aware of the UFC’s dominance, the UFC’s exclusionary conduct

 6   effectively prevents many sponsors from entering into business relationships with would-be rival

 7   promotions and non-UFC Professional MMA Fighters. Among other things, this conduct impairs and

 8   forecloses actual and potential rival promoters by, e.g., making it difficult for would-be rival promoters

 9   to offer competitive compensation packages (including sponsorships) to Elite Professional MMA

10   Fighters and denies would-be rival promoters of the ability to earn sufficient revenues from their events

11   to be significantly lucrative and profitable.

12           126.    Throughout the Class Period, the UFC has used the monopoly power that it has acquired

13   and maintained by the exclusionary scheme alleged in this Complaint to threaten sponsors into pulling

14   out of deals with non-UFC Elite Professional MMA Fighters as a means of coercing those Fighters to

15   sign exclusive contracts with the UFC. For example, when Elite Professional MMA Fighter, Fedor

16   Emelianenko, refused to sign a contract to fight for the UFC, the UFC demanded that Tapout, a

17   prominent clothing company and MMA sponsor, “dump [Emelianenko] or lose access to UFC events,”

18   according to M-1 Global President Vadim Finkelchstein, Emelianenko’s promoter/manager. In

19   response, Tapout withdrew a potential seven-figure, one-year sponsorship deal with Emelianenko.
20           127.    Prime physical venues and marquee sponsors are “must-have” inputs for would-be rival

21   MMA Promoters and, without them, such MMA Promoters are impaired in their ability to enter the

22   market and/or compete effectively. Therefore, the UFC’s exclusive arrangements with venues and

23   sponsors, combined with the other aspects of the UFC’s scheme, foreclose competitors from attracting

24   Elite Professional MMA Fighters and thereby competing successfully in the MMA Promotion business

25   at the highest level.

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 1                 2.      After Impairing Actual or Potential Rival Promoters in the Relevant Output
                           Market Through the Scheme Alleged Herein, the UFC Acquired Those
 2                         Would-Be Rivals that it Did Not Put Out of Business or Relegate to the
                           “Minor Leagues.”
 3

 4          128.   The UFC’s scheme successfully blocked actual or potential rival promoters from

 5   accessing inputs necessary to put on successful MMA events and to operate, sustain, and grow

 6   successful MMA Promotions that could eventually compete directly with the UFC. This scheme put

 7   several actual or potential rival MMA Promoters out of business. Those companies that were not forced

 8   to exit the MMA Promotion business by the scheme were weakened to such a degree that selling out to

 9   the UFC was the only realistic option. As a result, and as part of the alleged scheme, from December

10   2006 to March 2011, the UFC engaged in a series of strategic acquisitions of competing MMA

11   Promoters, culminating with its acquisition of rival MMA promotion company, Strikeforce. The UFC’s

12   acquisitions, along with other aspects of the exclusionary scheme, resulted in the UFC becoming, by its

13   own admission, the only meaningful Promoter of live Elite Professional MMA in the U.S. or North

14   America, enhancing the UFC’s monopoly power in the Relevant Output Market and monopsony power

15   in the Relevant Input Market.

16          129.   Beginning at least as early as December 2006, the UFC embarked on a campaign to

17   monopolize and monopsonize the Relevant Markets. As part of a deliberate plan to consolidate the

18   MMA Industry and more broadly solidify its control over the Relevant Markets, the UFC began

19   acquiring its competitors one by one. In December 2006, the UFC announced the acquisition of actual

20   or potential rival promoters World Extreme Cagefighting (“WEC”) and World Fighting Alliance

21   (“WFA”). Initially, the UFC operated WEC, based in California, as a separate MMA promotion

22   company, broadcast on a separate cable network to block would-be rivals from being televised on the

23   network. But in October 2010, the UFC announced that it was merging the WEC and all of its fighters

24   with the UFC. The UFC’s acquisition of WEC enabled the UFC to eliminate a would-be rival for Elite

25   Professional MMA Fighters in heavier weight classes, while also acquiring the major promotion entity

26   for Fighters in lighter weight classes. The UFC also acquired “Pride” and several other would-be rival

27   promoters in 2007.

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 1          130.    Between 2008 and 2011, and continuing into the present, the UFC accelerated its

 2   aggressive anticompetitive campaign. As part of the scheme alleged herein, the UFC’s efforts to

 3   prevent any successful competitive activity by new entrants directly contributed to the impairment and

 4   ultimate failure of the following MMA Promoters, including among others:

 5              a. Affliction Entertainment/Golden Boy Promotions. Golden Boy Promotions is the

 6   promotional arm of legendary boxer Oscar de la Hoya. Golden Boy partnered with Affliction

 7   Entertainment and entered the market for promotion of live Elite Professional MMA events for less

 8   than one year before being forced to pull out in 2009 after just two events. As part of its scheme, the

 9   UFC forced Affliction, a niche apparel provider, to exit the MMA promotion business by raising its

10   costs and blocking Affliction from continuing to sponsor any UFC Fighters.

11              b. HDNet Fights. HDNet Fights was founded in 2007 by billionaire owner of the Dallas

12   Mavericks and HDNet founder, Mark Cuban. HDNet Fights briefly promoted its own live Professional

13   MMA bouts. By 2009, the UFC had forced Cuban to shut down and, instead, become a bondholder in

14   Zuffa. The combination of the UFC’s Exclusive Promotional Agreements, its persistent refusal to co-

15   promote, and its blocking of the ability of Elite Professional MMA Fighters to self-promote, even after

16   the terms of their contracts had expired, prevented Cuban’s promotion company from promoting

17   potentially lucrative fights, including a proposed mega fight between Randy Couture and Russian

18   superstar Fedor Emelianenko.

19          131.    By 2011, the only potentially robust competitor to the UFC was Strikeforce, an MMA
20   promotion company that had been threatening to become a major force in the MMA Industry.

21   Strikeforce had a strong roster of Elite Professional Mixed Martial Artists, and at the time was the only

22   major MMA outfit promoting women’s MMA. It also had signed lucrative broadcast deals with

23   Showtime and CBS. In addition, Strikeforce had succeeded in obtaining significant promotional

24   sponsors and entered an agreement with EA Sports to develop an MMA video game to compete with

25   the UFC’s MMA video game, which had been developed by THQ of Agoura Hills, California.

26   Strikeforce also publicly announced its desire to co-promote high-level MMA events with international
27   promoters, and had a number of co-promotional arrangements, including co-promotional arrangements

28   with Russian promoter M-1 and the Japanese promotion Dream. Co-promotional arrangements,

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 1   common in boxing, mean athletes promoted by competing promoters fight against each other in co-

 2   promoted events with a split of profits generated.

 3          132.    As part of the alleged exclusionary scheme, in the years before 2011, the UFC had

 4   actively sought to use its market dominance to put Strikeforce out of business. For instance, as part of

 5   this scheme—even when it was not economically rational but for the potential for exclusion—the UFC

 6   regularly “counterprogrammed” against Strikeforce events, i.e., purposely staged UFC events on the

 7   same nights as Strikeforce events to prevent Strikeforce from gaining adequate ticket sales, television

 8   viewers or public notoriety for its events. The UFC counter-programmed against Strikeforce not

 9   because it was profitable in the short-run, but rather because it was a means of using the UFC’s

10   dominance in the Relevant Markets to prevent Strikeforce from successfully promoting MMA events

11   and thereby gaining adequate economies of scale or scope. Moreover, the UFC used its market power

12   to pressure sponsors of Strikeforce’s MMA fighters to withdraw their sponsorships by threatening to

13   ban them from sponsoring UFC Fighters or otherwise appearing in UFC broadcasts.

14          133.    In March 2011, as part of the scheme alleged herein, after the UFC had made it difficult

15   for Strikeforce to compete profitably, Strikeforce was forced to, and did, sell to defendant Zuffa.

16   Following the purchase, the UFC signed many of Strikeforce’s top stars and champions, including

17   Cung Le, Jason Miller, Nick Diaz, Dan Henderson, and Alistair Overeem. Under Zuffa’s ownership,

18   Strikeforce closed the promotion’s men’s weight classes below “lightweight.” After an extension was

19   reached to continue Strikeforce as a separate entity under the UFC’s umbrella through 2012, the
20   promotion’s heavyweight division was merged into the UFC, and the UFC ended the promotion’s

21   “Challengers” series. The final show under the Strikeforce brand was “Strikeforce: Marquardt vs.

22   Saffiedine” on January 1, 2013, after which the promotion was dissolved and all fighter contracts were

23   either ended or absorbed into the UFC.

24          134.    As a result of the UFC’s acquisition of Strikeforce, the UFC controlled virtually all Elite

25   Professional MMA Fighters in every weight class. The Strikeforce acquisition was part of a series of

26   UFC acquisitions of actual or potential rival promotions that, together, enabled the UFC to consolidate
27   and maintain its control over the revenue-generating core of the MMA Industry. While they proclaimed

28   to promote the best in every weight class prior to the Strikeforce acquisition, following the Strikeforce

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 1   purchase, the UFC could accurately state that it now controlled virtually all Elite Professional MMA

 2   Fighters in every weight class. Going forward, this insured that, to obtain media acclaim as “elite” and

 3   corresponding public notoriety, an Elite Professional MMA Fighter must sign with and compete against

 4   UFC Fighters.

 5                   3.     After Impairing Actual or Potential Rivals and Acquiring Virtually Every
                            Would-Be Rival Promoter That it Did Not Put Out of Business, the UFC
 6                          Relegated all Remaining MMA Promoters to “Minor League” Status.
 7          135.     Beginning no later than March 2011, those few fringe MMA Promoters that the UFC

 8   had not yet acquired or put out of business, such as Bellator MMA (“Bellator”), effectively functioned

 9   and continue to function as “minor leagues” for the UFC. These MMA Promotion outfits provide no

10   real access to top media rankings, public notoriety, lucrative bout purses, endorsements, or

11   sponsorships. Thus, through its anticompetitive scheme, the UFC has come to dominate the Relevant

12   Input and Output Markets.

13          136.     Professional MMA Fighters generally view non-UFC Promotion companies that still

14   exist as the “minor leagues,” i.e., as training grounds for future UFC Fighters.

15          137.     Ben Askren (“Askren”), a former Bellator welterweight champion, represented the U.S.

16   Olympic wrestling team in freestyle wrestling, was a four-time NCAA All-American, two-time

17   national champion, and NCAA wrestler of the year. Askren publicly stated that the only means of

18   moving up the MMA ranks and obtaining notoriety as an Elite Professional MMA Fighter was to join

19   the UFC and defeat UFC Fighters.

20          138.     While skilled Professional MMA Fighters may emerge outside of the UFC or break off

21   from the UFC, those Fighters cannot demonstrate their skill, garner attention, or otherwise maintain

22   sustainable careers outside of the UFC. The measure of success of a Professional MMA Fighter is

23   dependent upon the level of competition he faces and his success or failure when doing so. The success

24   of an Elite Professional Mixed Martial Artist requires that he or she register wins over fighters seen by

25   the viewing audience and media as Elite Professional MMA Fighters in widely-viewed MMA events to

26   build public notoriety, reputation, fan base, sponsor interest and earnings potential. Professional MMA

27   Fighters who compete at the highest level of the sport cannot “opt out” of UFC because the UFC’s

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 1   anticompetitive conduct has made it impossible to maintain a successful MMA fighting career outside

 2   of the UFC.

 3          139.    Likewise, because UFC Fighters are bound by non-compete agreements, and because

 4   the UFC will not co-promote, would-be rival MMA promotion companies cannot stage bouts between

 5   their own non-UFC fighters and UFC Fighters. Because the UFC Fighters are considered MMA’s Elite

 6   Professional MMA Fighters, would-be rival MMA promotion companies cannot compete effectively.

 7   Without big-ticket MMA Cards with Elite Professional MMA Fighters, would-be rival promotions are

 8   unable to secure sufficient public interest or sponsors and venues large enough or prestigious enough to

 9   generate revenues and bout purses that can sustain the demands of training costs, travel, health

10   coverage, gym membership, sparring partners, and other expenses necessary for sustaining a career as

11   an Elite Professional MMA Fighter. As a result, would-be rival promoters do not and cannot promote

12   MMA events that offer Elite Professional Mixed MMA Fighters substantial earnings potential on PPV

13   broadcasts, major network or subscription-based broadcast outlets.

14          140.    Accepting and publicly acknowledging their minor league status, rather than competing

15   with the UFC, potential rival promotions in the MMA Promotion Industry seek instead to work as

16   developmental leagues for the UFC and to obtain the UFC’s approval. Thus, instead of seeking to

17   invest in and develop Professional MMA Fighters to their full potential, the UFC’s potential rival

18   promoters acknowledge that they can afford only small purses. Thus, “rival” promoters survive and

19   attract Professional MMA Fighters by serving as a minor league training ground for the UFC and
20   guaranteeing their release to the UFC—and only the UFC—should the Professional MMA Fighter

21   achieve success and earn enough notoriety to elevate them to elite status, and thus potentially obtain an

22   offer from the UFC.

23          141.    Resurrection Fighting Alliance (“RFA”), broadcast on AXS TV (formally HDNet), is

24   one such UFC “minor league.” The RFA is a regional-level promotion operated by Ed Soares, who

25   stated that his “vision” for the RFA is “to build a developmental league for guys who want to move up

26   into the UFC.” According to Soares, the RFA is truly a “developmental” promotion for Professional
27   MMA Fighters seeking to make it to the UFC, and for veteran Professional MMA Fighters released by

28   the UFC to “test themselves against the guys who are coming up.” Soares states that all RFA

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 1   Professional MMA Fighters who receive offers from the UFC will be released from their RFA

 2   promotional agreement. RFA promotional agreements contain an express “release” provision in the

 3   event a Mixed Martial Artist obtains an offer from Zuffa. Because of the UFC’s dominance of the

 4   Relevant Markets through the scheme alleged herein, absent such a provision, it is unlikely that

 5   potential rival promotions such as RFA and others would be able to attract any Professional MMA

 6   Fighters. Scott Cutbirth, the former matchmaker responsible for arranging RFA bouts, has

 7   acknowledged, “[a]ll of our contract [sic] are exclusive with a Zuffa[-]out clause. So yes, if they get

 8   offered a deal with Zuffa, we will honor that. No other organizations will be honored.” Purses paid by

 9   the RFA are minimal compared to the UFC. Soares is also a prominent manager of many Elite

10   Professional MMA Fighters currently under contract with the UFC. Soares’ promotion, the RFA, is

11   currently the only MMA Promotion to which Zuffa has provided a license to advertise the use of, and

12   to hold events in, the UFC’s trademarked octagonal fenced enclosure.

13          142.    Titan Fighting Championship (“Titan FC”), broadcast on the CBS Sports cable network,

14   is another existing MMA “minor league” promotion outfit. Titan FC is a regional promotion originally

15   formed in 2006, and currently promoted by serial entrepreneur and multi-millionaire Jeff Aronson.

16   Aronson advised the press in January 2014 that all Mixed Martial Artists signed to Titan FC will have a

17   “Zuffa-out” clause in their contracts, meaning they will be released if Zuffa offers the fighter a bout.

18   Aronson has acknowledged that Titan FC “is not looking to compete with Zuffa.” Aronson explained

19   that Titan FC’s role is “to take the best guys that are out there, who may be scared to get into long-term
20   deals, and give them a forum to get back” into the UFC.

21          143.    Legacy Fighting Championship (“Legacy FC”), broadcast on AXS TV (formally

22   HDNet), is still another “minor league” MMA Promoter (formed in 2009) that does not dare compete

23   directly with the UFC. Legacy FC has survived as an MMA Promoter, in part, by clearly establishing

24   that it, too, does not and will not compete with the UFC. Rather, Mick Maynard, Legacy FC’s

25   President, has publicly stated that Legacy FC exists to supply the UFC with fighters rather than

26   compete with the UFC.
27          144.    Invicta Fighting Championship (“Invicta FC”), broadcast on the UFC’s Internet

28   broadcast subscription service “Fight Pass,” was formed in 2012, and solely promotes women’s MMA

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 1   events. Shannon Knapp, the founder and owner of Invicta FC, is a veteran of the MMA Industry.

 2   Knapp insists that Invicta does not aim to compete directly with the UFC. Knapp has acknowledged

 3   that Invicta functions as a platform from which female Professional MMA Fighters can “graduate” or

 4   “advance” to the UFC. In 2015, Invicta FC will reportedly become the second MMA Promotion to

 5   which Zuffa has provided a license to advertise the use of, and to hold events in, the UFC’s

 6   trademarked octagonal fenced enclosure.

 7           145.    Responding to questions regarding whether Invicta (and all other MMA Promoters)

 8   were being established as “feeder” promotions to the UFC, White stated: “As bad as people don’t want

 9   to believe it, they don’t want to hear it, meaning the other owners of the other mixed martial arts

10   organizations—that’s what they all are, they’re all the Triple-A [i.e., the minor leagues] to the UFC.”

11   White continued by boasting that all promotions that resist minor league status “end up $30 million in

12   the hole. All the people that don’t embrace it, embrace losing sh*t loads of money.”

13           146.    Another potential competitor, Bellator, is viewed within the MMA Industry—and by the

14   UFC itself—as a minor league, a training ground for future UFC Fighters, or as a place for former UFC

15   Fighters to compete after they have been released by the UFC.

16           147.    Bellator athletes lack significant public notoriety, in part, because it is a “minor league,”

17   and in part because the UFC refuses to co-promote with any of Bellator’s fighters regardless of talent or

18   merit, leaving Bellator unable to promote MMA events of relative significance. Bellator’s bout purses,

19   gate revenues, attendance figures, merchandise sales, television licensing fees and ad rates are minimal
20   compared to those obtained by the UFC.

21           148.    As White said on November 14, 2013, of Professional MMA Fighters under contract

22   with Bellator, “I feel sorry for the kids that fight there. I do. I truly feel sorry for the kids that have to be

23   stuck in that s**thole.”

24           149.    Even though the UFC has publicly stated that it views Bellator as a “minor league” that

25   does not present a competitive threat to the UFC, as part of the exclusionary scheme alleged herein, the

26   UFC has nevertheless engaged in aggressive conduct to inhibit Bellator’s development into a viable
27   rival promotion.

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 1          150.    Bellator held a nationally televised event on September 5, 2014, at the Mohegan Sun in

 2   Uncasville, Connecticut. In response, as part of the exclusionary scheme alleged herein, the UFC held

 3   “UFC Fight Night 50” at Foxwoods Resort Casino in Ledyard, Connecticut, on the same night, just ten

 4   miles away from Bellator’s event. The UFC has thus used the same “counter-programming” strategy to

 5   prevent Bellator’s growth that it successfully used to force actual or potential rivals Affliction,

 6   Strikeforce and EliteXC to stop promoting live professional MMA events.

 7          B.      The UFC’s Exclusionary Scheme Harmed Competition in the Relevant Input and
                    Output Markets.
 8

 9          151.    The UFC’s ongoing anticompetitive scheme has enhanced and maintained the UFC’s

10   monopoly power in the Relevant Output Market and monopsony power in the Relevant Input Market.

11   As a result of the UFC’s scheme: (i) compensation associated with fighting in MMA bouts to members

12   of the Bout Class has been and continues to be artificially suppressed, and (ii) the Identities of UFC

13   Fighters continues to be expropriated and compensation by the UFC and its licensees for the

14   expropriation of, exploitation of and right to exploit Identities of the members of the Identity Class has

15   been and continues to be artificially suppressed. In addition, the anticompetitive effects of the UFC’s

16   exclusionary scheme in the Relevant Markets include, inter alia:

17               a. reduced competitiveness of live Elite Professional MMA events;

18               b. artificially suppressed output in the Relevant Output Market, including reduced number

19   of live Elite Professional MMA bouts than would exist in the absence of the challenged anticompetitive

20   scheme; and,

21               c. artificially suppressed demand in the Relevant Input Market.

22          152.    There are no legitimate procompetitive justifications for the anticompetitive conduct

23   alleged in this Complaint, or for any aspect of the anticompetitive conduct standing alone. Even if,

24   arguendo, such justifications existed, there are less restrictive means of achieving those purported

25   procompetitive effects. To the extent the anticompetitive conduct or any aspect of the anticompetitive

26   conduct has any cognizable procompetitive effects, they are substantially outweighed by the

27   anticompetitive effects.

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 1          C.      Plaintiffs and Members of the Bout Class Suffered Antitrust Injury.
 2          153.    As a direct and proximate result of the Defendant’s anticompetitive conduct, as alleged

 3   herein, the Bout Class Plaintiffs and all members of the Bout Class suffered substantial losses to their

 4   business or property in that their compensation associated with fighting in one or more live Elite

 5   Professional UFC-promoted MMA bouts was artificially suppressed during the Class Period. The full

 6   amount of such damages will be calculated after discovery and upon proof at trial.

 7          154.    In return for signing a contract with the UFC, a UFC Fighter is scheduled, at the UFC’s

 8   discretion, an average of fewer than two fights per year. The starting pay for a UFC Fighter, as of

 9   January 2013, is $6,000 to “show,” i.e., compete in a bout, and $6,000 if the UFC Fighter is victorious

10   in a bout as a “win” bonus.

11          155.    As part of its effort to foreclose potential rival MMA Promoters from accessing Elite

12   Professional MMA Fighters, the UFC has contracted with more Fighters than it needs for bouts during

13   any given year. For example, as of January 2013, the UFC staged an average of 1.66 MMA bouts per

14   UFC Fighter per year, well under the three bouts per year the UFC claims it is obligated to make

15   available to UFC Fighters. The UFC has approximately 500 Elite Professional MMA Fighters under

16   contract, but only has plans for 45 events in 2015; each UFC event typically has 11 bouts. Each bout

17   has slots for two UFC Fighters or a total of 990 slots across the planned 45 events—far below the 1,500

18   slots necessary to provide each UFC Fighter under contract with three bouts per year. In April 2014,

19   UFC President Dana White acknowledged that the UFC has contracts with more Elite Professional
20   MMA Fighters than necessary, stating: “We have 500 guys under contract, which is a lot more than we

21   really need, and after each show, we really, really need to take a close look at what we do with guys.”

22          156.    Unlike boxing, where promoters frequently advance funds to cover the costs of medical

23   tests, training camps, coaches, food and nutrition, sparring partners, and living expenses, UFC Fighters

24   bear their own costs. UFC Fighters typically pay out approximately 15 to 25% of their MMA earnings

25   to cover the costs of gym memberships and management fees and must pay the costs of any necessary

26   sparring partners brought into the athlete’s training camp in preparation for a bout.
27          157.    As a result of the anticompetitive scheme, the UFC is able to compensate UFC Fighters

28   below competitive levels even though UFC events have among the highest average ticket prices in all

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 1   of sports. Indeed, the UFC has been able to raise ticket and PPV prices significantly above competitive

 2   levels as the UFC consolidated its market dominance through the conduct alleged herein. Where the

 3   average live ticket price for a major UFC event was $178 in 2005, it is now approximately $300. Under

 4   Zuffa, the UFC has also increased its prices for PPV events from an average of $28.91 per event for its

 5   first broadcast in 2001 to the current price of $54.95 per event for HD broadcasts. Additionally, the

 6   number of PPV buys since the UFC’s initial offer of PPV access to MMA fights has increased

 7   substantially since 2001.

 8          158.      The conduct comprising the UFC’s anticompetitive scheme is continuing and so are the

 9   damages suffered by the members of the Bout Class.

10          D.        The Identity Class Plaintiffs and Members of the Identity Class Suffered Antitrust
                      Injury.
11

12          159.      Defendant used its monopsony power in the market for Elite Professional MMA Fighter

13   services and its monopoly power in the market for live MMA events to suppress the compensation for

14   the exploitation of the Identities of members of the Identity Class.

15          160.      As a consequence of the alleged scheme, competition in the Relevant Markets was and

16   is substantially harmed, and the Identity Class Plaintiffs and members of the Identity Class have

17   sustained, and continue to sustain, substantial losses and damage to their business and property in the

18   form of suppressed compensation for the exploitation and licensing of their Identities, during the Class

19   Period. The full amount of such damages will be calculated after discovery and upon proof at trial.

20          161.      The conduct comprising the UFC’s anticompetitive scheme is continuing and so are the

21   damages suffered by the Identity Class resulting therefrom.

22   VIII. INTERSTATE COMMERCE

23          162.      The UFC engages in interstate commerce and in activities substantially affecting

24   interstate commerce including (1) promotion of MMA events in nearly all of the states comprising the

25   United States, (2) PPV, television, and Internet subscription-based broadcasts which occur throughout

26   the United States, (3) sale, distribution or licensing of merchandise throughout the United States, and

27   (4) production of television and Internet subscription-based programming which occurs throughout the

28   United States.

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 2   IX.    CLAIM FOR RELIEF FOR MONOPOLIZATION AND MONOPSONIZATION
            UNDER SECTION 2 OF THE SHERMAN ACT
 3
            (On behalf of the Bout Class and Identity Class)
 4

 5          163.       Plaintiffs incorporate by reference all of the preceding and ensuing paragraphs as if fully

 6   alleged herein.

 7          164.       The relevant geographic market is the United States, and in the alternative, North

 8   America.

 9          165.       The Relevant Markets include the markets for (a) promoting live Elite Professional

10   MMA bouts in the United States (the “Relevant Output Market”), and (b) the market for live Elite

11   Professional MMA Fighter services (the “Relevant Input Market”).

12          166.       UFC possesses monopoly power in the Relevant Output Market and monopsony power

13   in the Relevant Input Market, whether the geographic market includes the U.S. only, North America

14   only, or the entire world. The UFC has obtained, enhanced, and maintained dominance in both

15   Relevant Markets through the exclusionary scheme alleged herein. The UFC has abused and continues

16   to abuse that power to maintain and enhance its market dominance in the market for Elite Professional

17   MMA Fighter services through an exclusionary scheme to impair and foreclose competition by

18   depriving actual and potential competitors in the Relevant Output Market of necessary inputs

19   (including, e.g., Elite Professional MMA Fighters, premium venues, and sponsors), and pursuing an

20   aggressive strategy of merging or purchasing the would-be rivals that its scheme had first competitively

21   impaired.

22          167.       The UFC’s exclusionary scheme includes, but is not limited to, the following conduct:

23   (a) causing or directly and intentionally contributing to the failure of competing MMA Promotions and

24   acquiring actual or potential rival promotions to eliminate competing titles from the marketplace and to

25   obtain the contracts of Elite Professional MMA Fighters; and (b) leveraging its monopsony and

26   monopoly power in the Relevant Markets through the use of Exclusive Agreements with Elite

27   Professional MMA Fighters, venues, and sponsors.

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 1          168.    As a direct and proximate result of this continuing violation of Section 2 of the Sherman

 2   Act, Plaintiffs and members of the Bout and Identity Classes have suffered injury and damages in the

 3   form of artificially suppressed compensation in amounts to be proven at trial.

 4          169.    Plaintiffs, on behalf of themselves and other members of the Bout Class and Identity

 5   Class, seek money damages from Defendant for these violations. For the Bout Class, these damages

 6   represent the additional compensation Plaintiffs and other members of the Bout Class would have

 7   received for their Elite Professional MMA Fighter services absent the anticompetitive scheme alleged

 8   herein. For the Identity Class, these damages represent the additional compensation Plaintiffs and other

 9   members of the Identity Class would have received for exploitation of their Identities in the absence of

10   the violations alleged. Damages will be quantified on a class-wide basis for each proposed Class. These

11   actual damages should be trebled under Section 4 of the Clayton Act. 15 U.S.C. §15. Plaintiffs’ and

12   Class members’ injuries are of the type the antitrust laws were designed to prevent, and flow directly

13   from the Defendant’s unlawful conduct.

14          170.    The Bout Class Plaintiffs, on behalf of themselves and other members of the Bout Class,

15   seek injunctive relief barring Defendant from engaging in the anticompetitive scheme alleged herein.

16   The violations set forth above, and the effects thereof, are continuing and will continue unless

17   injunctive relief is granted. Plaintiffs’ and Class members’ injuries are of the type the antitrust laws

18   were designed to prevent, and flow directly from the Defendant’s unlawful conduct.

19          171.    The Identity Class Plaintiffs, on behalf of themselves and other members of the Identity
20   Class, seek injunctive relief barring Defendant from engaging in the anticompetitive scheme alleged

21   herein. The violations set forth above and the effects thereof are continuing and will continue unless

22   injunctive relief is granted. The Identity Plaintiffs and Class members’ injuries are of the type the

23   antitrust laws were designed to prevent, and flow directly from the Defendant’s unlawful conduct.

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 1   X.      DEMAND FOR JUDGMENT
 2           172.   WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Bout and Identity

 3   Classes, respectfully ask the Court for a judgment that:

 4              a. Certifies the Bout Class as a class action pursuant to Fed. R. Civ. P. 23(a), 23(b)(2) and

 5   (b)(3), and appoints the Bout Class Plaintiffs and their attorneys as class representatives and class

 6   counsel, respectively;

 7              b. Certifies the Identity Class as a class action pursuant to Fed. R. Civ. P. 23(a), 23(b)(2)

 8   and (b)(3), and appoints the Identity Class Plaintiffs and their attorneys as class representatives and

 9   class counsel, respectively;

10              c. Awards Plaintiffs and each of the Classes treble the amount of damages actually

11   sustained by reason of the antitrust violations alleged herein, plus the reasonable costs of this action

12   including attorneys’ fees;

13              d. Orders such equitable relief as is necessary to correct for the anticompetitive market

14   effects caused by the unlawful conduct of Defendant;

15              e. Grants each member of both Classes three-fold the damages determined to have been

16   sustained by each of them;

17              f. Awards Plaintiffs and both of the Classes their costs of suit, including reasonable

18   attorneys’ fees as provided by law;

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 1              g. Enters judgment against Defendant, holding Defendant liable for the antitrust violations

 2   alleged; and

 3              h. Directs such further relief as it may deem just and proper.

 4
     Dated: December 18, 2015                       Respectfully Submitted,
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 1                                      DEMAND FOR JURY TRIAL
 2         Plaintiffs hereby demand a jury trial as provided by Rule 38(b) of the Federal Rules of Civil

 3   Procedure.

 4
     Dated: December 18, 2015                      Respectfully Submitted,
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                     CONSOLIDATED AMENDED ANTITRUST CLASS ACTION COMPLAINT
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10                                       CERTIFICATE OF SERVICE

11          I hereby certify that on this 18th day of December, 2015, a true and correct copy

12   of CONSOLIDATED AMENDED ANTITRUST CLASS ACTION COMPLAINT was served via

13   the United States District Court CM/ECF system on all parties or persons requiring notice.

14

15                                           By /s/ Christie Rehfeld
                                                Christie Rehfeld, an Employee of
16                                              WOLF, RIFKIN, SHAPIRO, SCHULMAN &
                                                RABKIN, LLP
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                              CONSOLIDATED AMENDED ANTITRUST CLASS ACTION COMPLAINT
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